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                   EXHIBIT 8
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       In re APPLE INC. SECURITIES LITIGATION
       Expert Report of Professor Steven Grenadier


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                            June 10, 2022




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I.     Qualifications


1.     I, Steven R. Grenadier, Ph.D., am the William F. Sharpe Professor of Financial
Economics at the Graduate School of Business at Stanford University. I have been a member of
the Stanford faculty since 1992 and served as the Chair of the Finance Department for over ten
years. My teaching and research focus on the area of investment analysis, including, among
other topics, portfolios, performance evaluation, and benchmarking. While at Stanford, I have
taught graduate-level courses in Investment Modeling, Portfolio Management, Real Estate
Investment, and Finance Theory. In 1987, I graduated Phi Beta Kappa and summa cum laude
from the University of California at Berkeley with a B.S. in Business Administration. In 1992, I
received my Ph.D. in Business Economics (Finance) from Harvard University.
2.     I have published numerous articles in finance and economics journals and have spoken at
numerous academic and business conferences about my research. I am the co-editor of the
Journal of Real Estate Finance and Economics, a leading academic real estate journal. My
research focuses on sophisticated valuation models of complicated financial structures and their
empirical implications. This research includes significant analysis of options. I am a former
Trustee of E*Trade Funds, Nicholas Applegate Institutional Funds, and AQR Funds. I have also
served as a Senior Consultant to Financial Engines, Inc., an online investment advisor. I
currently serve as a Senior Advisor to Cornerstone Research and as a member of the Investment
Committee of Vise, an investment management platform.
3.     I am being compensated at my standard billing rate of $975 per hour. I have been
assisted in this matter by staff of Cornerstone Research, who worked under my direction. I
receive compensation from Cornerstone Research based on its collected staff billings for its
support of me in this matter. Neither my compensation in this matter nor my compensation from
Cornerstone Research is in any way contingent or based on the content of my opinion or the
outcome of this or any other matter.




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4.       I previously submitted an expert report in this matter on July 9, 2021 (the “Grenadier
Class Certification Report”)1 in response to an expert report filed by Dr. Steven Feinstein on
May 5, 2021 (the “Feinstein Class Certification Opening Report”). 2 My curriculum vitae, which
includes a list of the publications I have authored, is included as Appendix A. A list of my
deposition and trial testimony over the past four years is included as Appendix B. I have
reviewed reports from four other Defense experts in forming my opinion: Mr. Eric Poer; 3
Professor Brett Trueman;4 Professor Dennis Yang;5 and Mr. Alex Gauna.6 I have also reviewed
reports by Plaintiff’s experts Dr. Oded Shenkar; 7 Dr. Steven Feinstein;8 and Dr. Don Chance.9 A
complete list of the documents that I have considered in forming my opinions is attached as
Appendix C.
5.       My work in this matter is ongoing. The opinions presented in this report are the result of
the information available to me as of the report date. I reserve the right to supplement or modify
my opinions if new information comes to light and to respond to any additional report(s) or
opinions offered by other experts.


II.      Assignment


6.       I have been asked by counsel for Apple Inc. (“Apple” or “the Company”) to review and
respond to the Merits Report of Dr. Feinstein, who was retained by Lead Plaintiff Norfolk
County Council as Administering Authority of the Norfolk Pension Fund. 10 Additionally,




1
  Expert Report of Professor Steven Grenadier, July 9, 2021.
2
  Dr. Feinstein also submitted a reply report on August 24, 2021 (“Feinstein Class Certification Reply Report”).
3
  Summary and Expert Report of Eric Poer - Corrected, CPA, CFF, ABV, CFE, May 9, 2022 (“Poer Report”).
4
  Expert Report of Professor Brett Trueman, Ph.D., April 27, 2022 (“Trueman Report”).
5
  Expert Report of Professor Dennis Yang, Ph.D., April 27, 2022 (“Yang Report”).
6
  Corrected Expert Report of Alex Gauna, MBA, May 9, 2022 (“Gauna Report”).
7
  Expert Report of Oded Shenkar, April 27, 2022 (“Shenkar Report”).
8
  Expert Report of Steven P. Feinstein, Ph.D., CFA, April 27, 2022 (“Feinstein Merits Report”).
9
  Expert Report of Don Chance, April 15, 2022 (“Chance Report”).
10
   In re Apple Inc. Securities Litigation, Revised Consolidated Class Action Complaint for Violation of the Federal
Securities Laws, June 23, 2020 (“Complaint”).




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counsel has asked me to (i) assess Plaintiff’s alleged losses assuming the alleged
misrepresentation was comparing currency trends in China to other emerging markets; (ii) assess
Plaintiff’s alleged losses assuming the alleged misrepresentation was about FQ4’18; and (iii)
assess Plaintiff’s alleged losses assuming that the November 5, 2018 disclosure fully revealed
that Apple was facing “pressure” in Greater China.11


III.     Summary of Allegations


7.       Plaintiff is bringing a “federal securities class action on behalf of all persons and entities
who purchased or otherwise acquired the publicly traded securities of Apple Inc. … during the
period from November 2, 2018 through January 2, 2019” (“Class Period”). 12
8.       After market close on November 1, 2018, Apple issued a press release announcing its
financial results for the period ending September 29, 2018 and held an earnings call. The
Complaint states:

          When asked whether the U.S.-China trade tariffs and trade tariff threats were
          having any impact on demand for the iPhones in China, [Apple CEO Tim]
          Cook assured investors that the only “emerging markets that [Apple was]
          seeing pressure in [were] markets like Turkey, India, Brazil, [and] Russia …
          where currencies ha[d] weakened.” Cook explicitly excluded China from the
          category of emerging markets experiencing these negative economic pressures
          and emphasized growth in the prior quarter (4Q18):

                  [Cook:] [I]n relation to China specifically, I would not put China in
                  that category. Our business in China was very strong last quarter. We




11
   I understand that Plaintiff has claimed that during the November 1, 2018 earnings call, Apple denied it was seeing
“any deceleration or pressure” that was impacting its business in Greater China. (In re Apple Inc. Securities
Litigation, Lead Plaintiff Norfolk County Counsel as Administering Authority of the Norfolk Pension Fund’s
Objections and Responses to Defendant Apple Inc.’s Second Set of Interrogatories to Lead Plaintiff, March 16,
2022, p. 5).
12
   Complaint, ¶ 1. For the purposes of this report, I use “Plaintiff” to include members of the class certified by the
court.




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                  grew 16%, which we’re very happy with. iPhone, in particular, was
                  very strong double-digit growth there.13

I understand that the only alleged misrepresentation remaining in this case is Mr. Cook’s
statement on November 1, 2018 that he “would not put China in that category.” 14
9.       Plaintiff alleges that the statement about “the current state of Apple’s business in Greater
China and the impact of macroeconomic trends on the Company’s sales in Greater China[] was
materially false and misleading when made as Defendants knew or deliberately disregarded and
failed to disclose the following true facts”:15

           True Fact #1: “the U.S.-China trade tensions and economic conditions in
           China were negatively impacting sales and demand for Apple products,
           particularly iPhones”;16

           True Fact #2: “the Company had already begun to see declining traffic in
           Apple’s retail stores and those of its channel partner stores in Greater China,
           and reports of an overall contraction of the smartphone industry”; 17 and

           True Fact #3: “the Company had already, or was preparing to, cut iPhone
           production at multiple manufacturers and reduce orders from its largest
           suppliers of iPhone components for the current quarter and holiday season.” 18

10.      I understand that the alleged True Fact #3 only relates to the challenged statement to the
extent it provides information about “the performance of Apple’s iPhone business in China.” 19
Additionally, I understand that Plaintiff does not allege that the revenue guidance of $89 billion
to $93 billion provided by Apple on November 1, 2018 was false or misleading. 20




13
   Complaint, ¶ 18, emphasis in original.
14
   Complaint, ¶ 18; In re Apple Inc. Securities Litigation, Order Granting in Part and Denying in Part Defendants’
Motion to Dismiss the Revised Consolidated Class Action Complaint, November 4, 2020 (“MTD Ruling”), pp. 8,
23.
15
   Complaint, ¶ 24.
16
   Complaint, ¶ 24.
17
   Complaint, ¶ 24.
18
   Complaint, ¶ 24.
19
   In re Apple Inc. Securities Litigation, Order Granting in Part and Denying in Part Motion for Class Certification,
February 4, 2022 (“Ruling on Class Certification”), p. 14.
20
   Complaint, ¶¶ 53–57, 66.




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11.     Dr. Feinstein states that he “identified the following [five] event dates when disclosures
incrementally revealed the previously concealed truths, thereby correcting the alleged
misrepresentation and omissions”:21

          November 5, 2018: “On 5 November 2018, Nikkei reported that several of
          Apples [sic] suppliers had ‘to halt plans for additional production lines’ for the
          iPhone, and that the planned reduction in production would equate to ‘around
          100,000 fewer units daily to reflect the new demand outlook -- down 20% to
          25% from the original optimistic outlook.’”22

          November 12, 2018: “On 12 November 2018, Lumentum issued a press
          release, where it reduced its revenue guidance by 17.4%, explaining that the
          reduction was due to ‘a request from one of [its] largest Industrial and
          Consumer customers’ to reduce component shipments. That day, Wells Fargo
          analysts identified Apple as the customer that had requested that Lumentum
          reduce shipments, and noted that ‘investors could consider Lumentum’s
          updated guide as reflecting as much as a 30% cut in Apple orders.’” 23

          December 4, 2018: “On 4 December 2018, Bloomberg published an article
          discussing demand issues that Apple was facing and the new ‘iPhone
          marketing strategies’ to bolster iPhone sales.” 24

          December 6, 2018: “On 6 December 2018, Forbes published an article titled
          ‘Why 40% iPhone Discount is Bad for Apple.’ The Forbes article discussed
          the marketing strategies outlined in the Bloomberg article and assessed the
          financial implications for Apple.”25




21
   Feinstein Merits Report, ¶ 91. The Complaint includes November 5, 2018, November 12, 2018, and January 2,
2019 in the section titled “Loss Causation/Economic Loss.” (Complaint, ¶¶ 97–111). Additionally, in the section
titled “Defendants’ Materially False and Misleading Statements and Omissions During the Class Period,” the
Complaint states that “[o]n December 6, 2018, Apple’s stock price declined from a close of $176.69 per share on
December 4, 2018, to a close of $174.72 per share on December 6, 2018, but continued to trade at artificially
inflated prices.” (Complaint, ¶ 81). Dr. Feinstein states that he “analyzed the Company news and announcements
that transpired over the course of the Class Period to identify when disclosures correcting the alleged
misrepresentation and omissions occurred” and “identified the following event dates [including December 4, 2018
and December 6, 2018] when disclosures incrementally revealed the previously concealed truths, thereby correcting
the alleged misrepresentation and omissions.” (Feinstein Merits Report, ¶¶ 90–91).
22
   Feinstein Merits Report, ¶ 91.
23
   Feinstein Merits Report, ¶ 91.
24
   Feinstein Merits Report, ¶ 91.
25
   Feinstein Merits Report, ¶ 91.




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             January 3, 2019: “On 2 January 2019, after the close of trading, the Company
             revised its revenue guidance for Q1 2019 downward to $84 billion from a
             previous range of $89 billion to $93 billion (a reduction of 7.7% at the
             midpoint). The Company attributed its decreased revenue guidance to
             ‘challenges in key emerging markets … particularly in Greater China,’ and
             ‘lower than anticipated iPhone revenue, primarily in Greater China.’” 26


IV.        Summary of Opinions


12.        Below is a summary of my opinions in this matter. The bases for these opinions are
detailed in the sections that follow.
13.        Opinion 1: If the Court determines that Mr. Cook’s statement was a factually correct
statement that compared currency trends in China to the other emerging markets discussed on the
call, and was not a statement about Apple’s current business in Greater China or forecasted
performance in Greater China, then the statement could not have introduced inflation into the
stock price and could not have caused Plaintiff’s alleged losses.
14.        Opinion 2: If the Court determines that Mr. Cook’s statement was a factually correct
historical statement about Apple’s performance in FQ4’18, and not a statement about Apple’s
current business in Greater China or forecasted performance in Greater China, then the statement
could not have introduced inflation into the stock price and could not have caused Plaintiff’s
alleged losses.
15.        Opinion 3: If Plaintiff’s theory of harm is that Apple allegedly misrepresented that it
was not facing any “pressure” in Greater China as of November 1, 2018, and if the November 5,
2018 disclosure revealed that Apple was facing “pressure,” then Mr. Cook’s statement could not
have caused Plaintiff’s alleged losses after November 5, 2018. Alternatively, if Plaintiff fails to
show that the market learned on November 5, 2018 that Apple was facing “pressure” in Greater
China, but were able to show that the market learned on November 12, 2018 that Apple was
facing “pressure,” then Mr. Cook’s statement could not have caused Plaintiff’s alleged losses on
November 5, 2018 or January 3, 2019.




26
     Feinstein Merits Report, ¶ 91.
                                                                                                Page 6


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16.     Opinion 4: Dr. Feinstein’s analysis of the losses caused by the alleged misrepresentation
is flawed and unreliable.
17.     First, a key step in assessing loss causation is to determine the but-for disclosure,
meaning what information could and should have been disclosed in order to make the alleged
misrepresentation not misleading, and when this information could and should have been
disclosed. Dr. Feinstein is inconsistent with respect to the but-for disclosure that could and
should have been made, which prevents him from reliably evaluating the extent to which the but-
for disclosure matches the actual alleged corrective disclosures. The remaining alleged
misrepresentation in this case is the statement by Mr. Cook that he “would not put China in that
category.”27 The Court ruled that “the thrust of plaintiffs complaint [] is not merely that Cook
misrepresented how poorly Apple was performing in China, but that it was, in fact, performing
poorly at all.”28 Therefore, I understand that according to Plaintiff’s theory, the but-for
disclosure that could and should have been made was that Apple was facing “pressure” in
Greater China, not the severity of such “pressure.” 29
18.     Dr. Feinstein fails to properly address the extent to which the alleged corrective
disclosures revealed the but-for disclosure and whether the alleged corrective disclosures caused
losses to stockholders. Dr. Feinstein instead asserts that had “analysts and investors been fully
and honestly informed by the Company at the start of the Class Period … they would not have
been surprised by the subsequent adverse announcements” and “the stock price would not have
fallen significantly upon the ultimate disclosure.” Such a claim is false, unsupported, and has no
basis in literature in financial economics.
19.     Second, Dr. Feinstein’s empirical assessment of loss causation is an event study
regression model conducted on five alleged corrective disclosure dates. He finds negative and
statistically significant returns on three of these dates, November 5, 2018, November 12, 2018,
and January 3, 2019, which he considers empirical evidence of loss causation for these dates.




27
   Complaint, ¶ 18.
28
   Ruling on Class Certification, p. 15, emphasis in original.
29
   Most of my criticisms of Dr. Feinstein’s loss causation and damages analyses do not depend on whether the but-
for disclosure would have been about the existence of “pressure” in Greater China or about severity of such
“pressure.”
                                                                                                             Page 7


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Dr. Feinstein fails to appropriately account for confounding information not causally linked to
the alleged fraud that was revealed on the alleged corrective disclosure dates.
           a. November 5, 2018: Dr. Feinstein inappropriately assumes that investors would
               have foreseen and thus “would not have been surprised” by the November 5, 2018
               alleged corrective disclosure had the but-for disclosure been made on November
               1, 2018. He fails to address that the November 5, 2018 disclosure involves
               information about Apple’s business globally, not just in Greater China. As a
               result, he fails to account for confounding information in his analysis of investor
               losses on November 5, 2018.
           b. November 12, 2018: Dr. Feinstein inappropriately assumes that investors would
               have foreseen and thus “would not have been surprised” by the November 12,
               2018 alleged corrective disclosure had the but-for disclosure been made on
               November 1, 2018. He fails to address that the November 12, 2018 disclosure
               involves information about Apple’s business globally, not just in Greater China.
               As a result, he fails to account for confounding information in his analysis of
               investor losses on November 12, 2018.
           c. January 3, 2019: Dr. Feinstein fails to demonstrate that the information conveyed
               in Mr. Cook’s Letter to Shareholders, which included the guidance reduction to
               $84 billion, and his subsequent CNBC interview, reflects the but-for disclosure
               that Apple could and should have made on November 1, 2018, as opposed to
               reflecting new information about performance and outlook that Apple learned
               between November 1, 2018 and January 2, 2019. Dr. Feinstein asserts, without
               any support, that investors “would not have been surprised” by the disappointing
               performance in Greater China that Apple disclosed on January 2, 2019 had
               “investors been fully and honestly informed by the Company at the start of the
               Class Period.” In contrast, Apple’s internal forecasts reflect that it was surprised
               by what ultimately transpired between November 1, 2018 and January 2, 2019.
               Apple, with the benefit of the information that was allegedly concealed regarding
               the business outlook and performance in Greater China, had an internal “likely”
               forecast of FQ1’19 revenue of $90.678 billion and an internal forecast range

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               consistent with its guidance of $89 billion to $93 billion as of November 1, 2018.
               However, Apple’s actual FQ1’19 revenue of $84.310 billion came in over $6
               billion below the “likely” revenue forecast from November 1, 2018 after Apple
               learned how its business was performing in Greater China and elsewhere during
               the remainder of the quarter. Dr. Feinstein fails to account for the evolution of
               Apple’s expectations about its performance in Greater China despite emphasizing
               in his Class Certification Reply Report the need to review internal documents to
               account for the possibility of such changed internal expectations. Consistent with
               Apple lowering its forecasts in response to new information learned after
               November 1, 2018, there were multiple unexpected headwinds in Greater China
               that are documented in the Grenadier Class Certification Report, the Yang Report,
               and the Shenkar Report. Dr. Feinstein does not provide any analysis
               demonstrating that had Apple additionally disclosed that it was facing “pressure”
               in Greater China, the market would have not only lowered its expectations of
               FQ1’19 revenue but also lowered them much beyond the expectations that Apple
               developed internally as of November 1, 2018. Further, there was other negative
               news, not causally linked to the alleged misrepresentation by Mr. Cook that he
               “would not put China in that category,” that was revealed on January 2, 2019.
               This includes negative information regarding a weaker than expected iPhone
               upgrade cycle in the quarter and going forward, which analysts attributed to
               factors such as the battery replacement program, lack of carrier subsidies, and
               currency trends driving price increases. Dr. Feinstein does not reliably account
               for this negative confounding information as part of his loss causation analysis.
20.     Opinion 5: Dr. Feinstein’s damages calculation is flawed, unreliable, and overstates
inflation.
21.     First, the starting point of Dr. Feinstein’s damages analysis is his assessment of loss
causation. As such, all of the shortcomings in Dr. Feinstein’s loss causation analysis described
above also apply to his assessment of damages. Because Dr. Feinstein’s analysis of the losses
caused by the alleged misrepresentation is flawed and unreliable, he has failed to show that there
are any damages to shareholders.

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22.    Second, Dr. Feinstein does not explain how the alleged misrepresentation introduced
inflation into the stock price as of the start of the Class Period considering that analysts noted
that Apple faced headwinds in Greater China both before and after the alleged misrepresentation,
and that analyst consensus expectations were well within Apple’s own guidance range and its
range of internal forecasts.
23.    Third, Dr. Feinstein’s analysis of inflation fails to address that the hypothetical but-for
disclosure would have been qualitative in nature while the alleged corrective disclosures had
important quantitative components. The November 5, 2018 and November 12, 2018 alleged
corrective disclosures revealed quantitative information regarding supplier production cuts or
supplier revised guidance, with an associated expected reduced demand for Apple’s products.
The January 2, 2019 alleged corrective disclosure contained quantitative information regarding
revised revenue guidance. Dr. Feinstein fails to account for the mismatch between the
qualitative but-for disclosure that Apple was facing “pressure” in Greater China, and this
quantitative information, despite claiming in his Class Certification Reply Report that this was a
resolvable issue.
24.    Fourth, Dr. Feinstein fails to control for information conveyed about markets other than
Greater China when analyzing the November 5, 2018 and November 12, 2018 alleged corrective
disclosures. By failing to account for information about Apple’s performance outside of Greater
China, Dr. Feinstein’s damages analysis fails to isolate only those losses, if any, that were caused
by the alleged misrepresentation that Mr. Cook “would not put China in that category.” As a
result, Dr. Feinstein’s inflation ribbon that incorporates the entire residual stock price declines on
November 5, 2018 and November 12, 2018 would inappropriately compensate investors for
losses causally linked to production cuts caused by global demand, rather than only those related
to Greater China.
25.    Dr. Feinstein also fails to isolate the impact of the alleged fraud on January 3, 2019, if
any, from other confounding factors. First, Dr. Feinstein needs to determine what portion, if any,
of Apple’s stock price decline on January 3, 2019 was caused by revelation of information that
Apple allegedly could and should have disclosed on November 1, 2018. Instead, he
inappropriately focuses on trying to attribute a portion of Apple’s stock price decline on January
3, 2019 to information that Apple knew about its performance in Greater China as of January 2,

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2019. Second, even setting aside Dr. Feinstein’s failure to control for the extent to which
information that Apple learned after November 1, 2018 drove the January 2, 2019 pre-
announcement, Dr. Feinstein fails to substantiate his assertion that the proportion of the price
decline on January 3, 2019 that he attributes to the revenue miss in Greater China as of January
2, 2019 (76%) is “conservative.” As a result, Dr. Feinstein’s inflation ribbon that incorporates a
large portion of the stock price decline on January 3, 2019 would inappropriately compensate
investors for losses that were due to adverse developments that Apple experienced after
November 1, 2018 and, potentially, for other losses not causally linked to the alleged
misrepresentation by Mr. Cook that he “would not put China in that category.”
26.    Fifth, even setting aside that Dr. Feinstein’s analysis of Plaintiff’s alleged losses on
November 5, 2018, November 12, 2018, and January 3, 2019 caused by the alleged
misrepresentation is flawed and unreliable, examples of what would happen to Dr. Feinstein’s
calculation of per share inflation if one were to use Dr. Feinstein’s own methodology and adjust
for the most glaring errors in his inappropriate assumptions show that he overstates inflation.
           a. November 5, 2018: As discussed above, the November 5, 2018 disclosure
               conveyed information about worldwide production cuts. Greater China accounted
               for 19.6% of Apple’s total net sales in FY18, and other metrics (such as Greater
               China’s share of forecasted unbrickings in FQ1’19 and Greater China’s share of
               the reduction of unbricking forecasts between the iPhone XR launch and
               November 1, 2018) indicate a similar proportion. Assuming that the market
               interpreted the production cuts as conveying information about Apple’s global
               expected revenue, and the market apportioned 19.6% of the revenue impact to
               Greater China, then apportioning the stock price decline based on revenue
               contribution (consistent with what Dr. Feinstein does for January 3, 2019) results
               in $1.41 of the $7.17 residual price decline on November 5, 2018 (or 19.6%)
               being linked to Greater China.
           b. November 12, 2018: As discussed above, the November 12, 2018 disclosure
               conveyed information about worldwide production cuts. Using the same
               assumptions and methodology as for November 5, 2018 above, results in $0.94 of



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              the $4.82 price decline on November 12, 2018 (or 19.6%) being linked to Greater
              China.
           c. January 2, 2019: For this day, Dr. Feinstein fails to account for new information
              learned after November 1, 2018 that contributed to Apple’s FQ1’19 updated
              revenue guidance. In an illustrative example, I assume that in the but-for world,
              Apple would have stated that it was facing “pressure” in Greater China on
              November 1, 2018. I assume that 19.6% of the market’s over-optimism in
              forecasting FQ1’19 revenue relative to Apple’s guidance midpoint of $91 billion
              on November 1, 2018 was attributable to the alleged misrepresentation by Mr.
              Cook that he “would not put China in that category.” Under these assumptions,
              the but-for consensus forecast would have been $0.213 billion lower than the
              actual consensus forecast on November 2, 2018, implying that 3.02% of the
              $7.068 billion reduction in consensus forecast following the January 2, 2019
              disclosure can be causally linked to the alleged misrepresentation by Mr. Cook
              that he “would not put China in that category.” This corresponds to a residual
              price decline of $0.32.
           d. November 5, 2018 “Full Disclosure”: If Plaintiff’s theory of harm is that Apple
              allegedly misrepresented that it was not facing any “pressure” in Greater China,
              and if Plaintiff establishes that the November 5, 2018 disclosure revealed that
              Apple was facing “pressure” in Greater China, then inflation would be limited to
              the price decline on November 5, 2018 that can be causally linked to Apple’s
              performance in Greater China, which is the $1.41 in the illustrative example
              above. If Plaintiff fails to show that the market learned that Apple was facing
              “pressure” in Greater China on November 5, 2018, but were able to show that the
              market learned on November 12, 2018 that Apple was facing “pressure,” inflation
              would be limited to the decline on November 12, 2018 that can be causally linked
              to Greater China, which is $0.94 in the illustrative example above.
27.    Opinion 6: Dr. Feinstein’s proposed damages calculations for the Apple options are
flawed and unreliable.



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28.    First, Dr. Feinstein’s proposed measure of inflation in the prices of Apple call options
(and deflation in the prices of Apple put options) is derived from his estimate of inflation in
Apple’s stock price. As such, his failure to reliably measure inflation, if any, in the stock price
also means that he has failed to demonstrate that Apple call options traded at inflated prices (and
Apple put options traded at deflated prices), and consequently that investors in Apple options
were damaged.
29.    Second, Dr. Feinstein’s proposed damages methodology for the Apple options assumes
that option holders would have chosen to trade the same specific option series (i.e., would have
traded the option with the same type (call vs. put), strike price, and maturity date) regardless of
how inflation may have impacted the investor’s preference for that option or the suitability of
that option for the investor’s strategy. However, such an assumption ignores the testimony by
Plaintiff’s options expert, Dr. Chance, that investors choose which options to trade based on
option characteristics such as the strike price relative to the underlying stock price, which would
have been different following the but-for disclosure, according to Plaintiff’s allegations.
30.    Third, option prices depend not only on the underlying stock price and the option contract
terms, but also on implied volatility—a key determinant of the value of the options. Dr.
Feinstein fails to analyze whether the implied volatility (a model-derived measure of volatility
such that the model price matches an observed market price of the option, and which can be
different for different options) would have changed as a result of the hypothetical but-for
disclosure. Instead, Dr. Feinstein inappropriately assumes that the implied volatilities would be
the same in the actual and the but-for worlds, despite the fact that the implied volatilities changed
over time and changed in response to the alleged corrective disclosures.




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V.         Background on Apple’s Business

31.        Apple designs, manufactures, and markets consumer electronics, such as mobile devices
and personal computers, and sells related software, services, and accessories. 30 Apple’s FY18
ended in September 2018.31 Apple’s top-selling product line in FY18, and still today, is the
iPhone, which is a line of smartphones created by Apple that uses the iOS operating system. 32
The iPhone’s net sales accounted for 63%, 62%, and 63% of Apple’s total net sales for full year
FY16, FY17, and FY18 respectively. 33
32.        Apple is a global company with “reportable segments [] of the Americas, Europe, Greater
China, Japan, and Rest of Asia Pacific.” 34 Greater China, which includes China, Hong Kong,
and Taiwan, accounted for 22%, 20%, and 20% of total net sales in FY16, FY17, and FY18,
respectively.35 Greater China was the slowest-growing geography for Apple in FY16 and FY17
with Greater China revenue declining 17% and 8%, respectively. 36 Greater China revenue
increased by 16% year-over-year in FQ4’18,37 but analyst reports commented that Greater China
still had “the slowest growth of the company’s major geos” 38 and was “the weakest reported
region.”39
33.        During the relevant period, Apple earned revenue in Greater China by selling a variety of
products and services. For example, in FQ1’19, Apple’s iPhone sales in Greater China included
not only the newly launched iPhone XS, iPhone XS Max, and iPhone XR, but also previous




30
     Apple Inc., Form 10-K for the fiscal year ended September 29, 2018, dated November 5, 2018 (“2018 10-K”), p.
1.
31
   2018 10-K, p. 1.
32
   2018 10-K, pp. 1, 23; Apple Inc., Form 10-K for the fiscal year ended September 25, 2021, dated October 29,
2021, p. 21.
33
   2018 10-K, p. 24.
34
   2018 10-K, p. 62.
35
   2018 10-K, pp. 26, 62.
36
   “Building a Valuable Services Business on Top of Apple’s Core. Initiate at Buy,” Jefferies, October 29, 2018, p.
28.
37
   Q4 2018 Apple Inc. Earnings Call, “Edited Transcript,” November 1, 2018; “Q4’18 Q&A,” November 1, 2018,
APL-SECLIT_00261104–177 at 122.
38
   “F4Q18 Quick Take; Solid Quarter But Guidance Reflects Uncertainty,” Cross Research, November 1, 2018, p. 1.
39
   “Disappointing Dec qtr revenue outlook,” Atlantic Equities, November 2, 2018, p. 1.




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iPhone generations such as iPhone X and iPhone 8. Additionally, Apple sold Mac computers,
iPads, and watches in Greater China during this time period. 40 Apple also earned revenue from
non-hardware products and services in Greater China, such as from the App Store, for which
China was the “largest revenue generating country.”41 Together, all these products and offerings
constituted Apple’s business in Greater China.


VI.      Overview of Loss Causation and Damages from the Perspective of a Financial
         Economist


34.      It is my understanding that in securities cases, such as the current matter, plaintiffs must
demonstrate economic loss and loss causation—that is, they must demonstrate that they incurred
actual “out-of-pocket”42 damages and that such damages arose from the revelation of the alleged
fraud and not from other factors unrelated to defendants’ alleged misstatements and/or
omissions.43 Put differently, plaintiffs must demonstrate that they lost money on stock or options
and establish a causal connection between defendants’ alleged misrepresentation and omissions
and plaintiffs’ alleged economic loss.
35.      I understand that plaintiffs typically establish economic loss in a securities matter by
demonstrating that putative class members purchased the stock or call option at a price that was
artificially inflated due to alleged misstatements or omissions and held the stock or call option
when its price declined following disclosure of the truth. 44 I understand that, as a matter of law
and economics, the economic loss caused by the defendants’ alleged fraud could be, at most, the




40
   APL-SECLIT_00408660.
41
   “China remains the single largest revenue generating country for the App Store, producing slightly more than $1B
in net revenue in the September quarter and accounting for 29% of total App Store net revenue, slightly lower than
the T12M average of 31%.” (“China a Growing Headwind to App Store Growth Near-term,” Morgan Stanley,
October 17, 2018, p. 1).
42
   The “out-of-pocket measure” of damages is defined as the “difference between the purchase price and the value of
the security at the date of purchase less the difference between the sale price and the value of the security at the date
of sale.” (Cornell, Bradford and R. Gregory Morgan, “Using Finance Theory to Measure Damages in Fraud on the
Market Cases,” UCLA Law Review, Vol. 37, 1990, (“Cornell and Morgan (1990)”), pp. 883–924 at p. 885).
43
   I understand that damages are subject to the Private Securities Litigation Reform Act of 1995, and certain
limitations on recoverable damages may be applicable. (Private Securities Litigation Reform Act of 1995, 15 U.S.C.
§ 78u–4(e)).
44
   In the case of a put option, plaintiffs typically establish economic loss by demonstrating that putative class
members wrote the option at a price that was artificially deflated due to alleged misstatements or omissions and the
option position was still outstanding when the option price increased following disclosure of the truth.
                                                                                                                  Page 15


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price decline of the security attributable to the revelation of the defendants’ alleged fraud. The
measurement of this price reaction must account for—among other things—the potential impact
of market and industry effects, the impact of new information learned during the Class Period,
and confounding information not causally linked to the allegations. Accordingly, economic
analysis is needed to assess the specific degree to which plaintiffs’ alleged losses were in fact
caused by the defendants’ alleged misrepresentations.
36.      To determine whether there is loss causation using this method, an expert must (i)
identify the alleged misrepresentations made by the defendants; (ii) determine what information
could have and should have been disclosed in order to make the alleged misrepresentations not
misleading and when this information could have and should have been disclosed (i.e., the “but-
for” disclosure); (iii) determine whether there were any “corrective disclosures” that revealed to
the public some truth (i.e., the “but-for” disclosure) that was previously concealed by the
defendants’ alleged misrepresentations and not already known to market participants; and (iv)
analyze the price reactions of stock and options, if any, to any such corrective disclosures in
order to assess whether and to what extent the disclosures caused alleged losses to investors.


VII.     If Mr. Cook’s Statement Was Comparing Currency Trends in China to Other
         Emerging Markets, Then It Could Not Have Caused Plaintiff’s Alleged Losses


37.      During the November 1, 2018 earnings call, Mr. Cook was asked a question by an analyst
about deceleration in some emerging markets, such as China. 45 Mr. Cook responded that Apple
was seeing pressure in “markets like Turkey, India, Brazil, [and] Russia,” which were markets in
which currencies had “weakened over the recent period,” but that he “would not put China in
that category.” Plaintiff alleges that the bolded portion of Mr. Cook’s response was false and
misleading:46




45
   “Tim, there has been some real deceleration in some of these emerging markets, partly driven by some concerns
around some of the rules the administration is contemplating and partly driven by things that are more specific to
China, for instance, like some of the regulations around gaming. So can you talk about how you see the trajectory
there for the business and what you think of the initiatives of some companies like Netflix and Fortnite trying to
bypass the App Store around subscriptions? And I have a follow-up.” (Q4 2018 Apple Inc. Earnings Call, “Edited
Transcript,” November 1, 2018).
46
   Complaint, ¶ 18.
                                                                                                               Page 16


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             Sure. Great question. Starting with emerging markets. The emerging markets
             that we’re seeing pressure in are markets like Turkey, India, Brazil, Russia,
             these are markets where currencies have weakened over the recent period. In
             some cases, that resulted in us raising prices, and those markets are not
             growing the way we would like to see. To give you a perspective in -- at some
             detail, our business at India in Q4 was flat. Obviously, we would like to see
             that be a huge growth. Brazil was down somewhat compared to the previous
             year. And so I think -- or at least the way that I see these is each one of the
             emerging markets has a bit of a different story. And I don’t see it as some sort
             of issue that is common between those for the most part. In relation to China
             specifically, I would not put China in that category. Our business in China
             was very strong last quarter. We grew 16%, which we’re very happy with.
             iPhone, in particular, was very strong double-digit growth there. 47

38.        Mr. Poer analyzed currency fluctuations in the countries referenced in Mr. Cook’s
statement, and concluded that “[the] currency fluctuations in the emerging markets referenced by
Mr. Cook on the Q4 FY2018 Earnings Call had a significantly greater impact on those countries’
respective revenues than in Greater China, supporting the statement that China was ‘not in that
category.’”48 If the Court determines that Mr. Cook’s statement was a factually correct statement
that compared currency trends in China to the other emerging markets discussed on the call, and
was not a statement about Apple’s current business in Greater China or forecasted performance
in Greater China, then the statement could not have introduced inflation into the stock price and
could not have caused Plaintiff’s alleged losses.


VIII. If Mr. Cook’s Statement Was about FQ4’18, Then It Could Not Have Caused
      Plaintiff’s Alleged Losses


39.        Plaintiff claims that the bolded portion of the following statement made by Mr. Cook
during the November 1, 2018 earnings call was allegedly false and misleading:




47
     Q4 2018 Apple Inc. Earnings Call, “Edited Transcript,” November 1, 2018, emphasis added.
48
     Poer Report, p. 29.




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           [I]n relation to China specifically, I would not put China in that category.
           Our business in China was very strong last quarter. We grew 16%, which
           we’re very happy with. iPhone, in particular, was very strong double-digit
           growth there.49

40.       I understand that there is no dispute that the statement about Apple’s FQ4’18 revenue
growth of 16% in Greater China was a factually correct statement. Indeed, the 16% growth rate
is consistent with materials prepared by Apple for the FQ4’18 earnings call Q&A session, which
showed that Apple’s FQ4’18 revenue grew 16% in Greater China year-over-year. 50
41.       Furthermore, Professor Trueman opines that market participants discussed Mr. Cook’s
statements about Greater China on the earnings call as referring to Apple’s FQ4’18 results. 51 For
example, according to Professor Trueman, in the 22 analyst reports that discussed Mr. Cook’s
statement, “[a]ll or nearly all of the reports that referenced the Challenged Statement mentioned
the information contained in the statement as historical.” 52
42.       If the Court determines that Mr. Cook’s statement was a factually correct historical
statement about Apple’s performance in FQ4’18, and not a statement about Apple’s current
business in Greater China or forecasted performance in Greater China, then the statement could
not have introduced inflation into the stock price and could not have caused Plaintiff’s alleged
losses.


IX.       If Plaintiff’s Theory of Harm Is That Apple Allegedly Misrepresented That It Was
          Not Facing Any “Pressure” in Greater China, and the November 5, 2018 Disclosure




49
   Complaint, ¶ 18, emphasis added.
50
   “Q4’18 Q&A,” November 1, 2018, APL-SECLIT_00261104–177 at 126.
51
   Trueman Report, ¶ 61.
52
   Trueman Report, ¶ 62.




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        Revealed That Apple Was Facing “Pressure,” Then Mr. Cook’s Statement Could
        Not Have Caused Plaintiff’s Alleged Losses after November 5, 2018


43.     I understand that according to the Ruling on Class Certification the “thrust” of Plaintiff’s
allegation is that Mr. Cook failed to disclose that Apple was facing “pressure” in Greater China.
Specifically, the Court stated:

          [Defendants] ignore the thrust of plaintiff’s complaint, which is not merely that
          Cook misrepresented how poorly Apple was performing in China, but that it
          was, in fact, performing poorly at all.53

44.     Additionally, I understand that Plaintiff has claimed that during the November 1, 2018
earnings call Apple denied it was seeing “any deceleration or pressure” that was impacting its
business in Greater China.

          As alleged, going into the earnings call, investors were concerned about the
          potential impact on Apple’s business of reports of economic growth
          deceleration in Greater China and other emerging markets, the threatened U.S.
          tariffs on Chinese products, and reports that Chinese consumers were reducing
          spending and the Chinese smartphone market was becoming increasingly
          competitive. Defendants sought to quell investor concerns about economic
          conditions in China and their impact on the Company by specifically denying
          that Apple was experiencing any deceleration or pressure on its business in
          China, and by failing to disclose the risk of such pressure from that
          deceleration and trade tensions in China, like it was experiencing in other
          emerging markets which were not growing (or in fact shrinking) due to poor
          economic conditions.54

45.     If Plaintiff’s theory is that Mr. Cook misrepresented not “how poorly Apple was
performing in China” but rather that it was “performing poorly at all,” 55 then according to




53
   Ruling on Class Certification, p. 15, emphasis in original.
54
   In re Apple Inc. Securities Litigation, Lead Plaintiff Norfolk County Counsel as Administering Authority of the
Norfolk Pension Fund’s Objections and Responses to Defendant Apple Inc.’s Second Set of Interrogatories to Lead
Plaintiff, March 16, 2022, p. 5, emphasis added.
55
   Ruling on Class Certification, p. 15.




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Plaintiff’s theory, the allegedly misrepresented information was fully disclosed on November 5,
2018.
46.      On this date, Plaintiff states that an article by Nikkei Asia reported that Apple suppliers
had been asked to halt plans for additional production lines, which indicated a less optimistic
demand outlook.56 Plaintiff alleges that this article revealed the “truth” about “Defendants’
misrepresentations and omissions” about “positive sales of the latest iPhone models and the
strength of the Company’s business in China.”57 I understand that the Court dismissed the
alleged misrepresentation about the “sales of the latest iPhone models,” leaving the statement by
Mr. Cook that he “would not put China in that category” as the only alleged misrepresentation. 58
Therefore, if Plaintiff is successful in showing that the November 5, 2018 disclosure revealed
that Apple was facing “pressure” in Greater China as of November 1, 2018, then, in an efficient
market,59 any inflation would be removed on that date and the stock price would no longer be
inflated after the November 5, 2018 alleged corrective disclosure. The subsequent alleged
corrective disclosures would simply be the reiteration that Apple was facing “pressure” in
Greater China as of November 1, 2018. In an efficient market, repetition of news that has
already been disclosed will not cause a stock price reaction, and thus would not cause
recoverable loss to investors resulting from the alleged misrepresentation. 60
47.      If Plaintiff fails to show that the market learned on November 5, 2018 that Apple was
facing “pressure” in Greater China, but were able to show that the market learned on November
12, 2018 that Apple was facing “pressure,” the same logic outlined above would apply. The only
difference would be that any inflation would be removed on November 12, 2018, and Mr.




56
   Complaint, ¶ 98.
57
   Complaint, ¶ 97.
58
   MTD Ruling, p. 23.
59
   I did not challenge market efficiency for Apple stock in my Class Certification Report, and I understand that the
Court ruled that Plaintiff demonstrated the market for Apple stock is efficient. (Ruling on Class Certification, pp. 9–
10).
60
   Grenadier Class Certification Report, ¶ 33.




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Cook’s statement could not have caused Plaintiff’s alleged losses on November 5, 2018 or
January 3, 2019.61


X.       Dr. Feinstein’s Analysis of the Losses Caused by the Alleged Misrepresentation Is
         Flawed and Unreliable


48.      Dr. Feinstein concludes that the alleged “misrepresentation and omissions” identified in
the Complaint “caused the price of Apple stock to be artificially inflated over the course of the
Class Period.”62 I note that in referring to the alleged “misrepresentation and omissions” in his
report, Dr. Feinstein does not explain what specific statement(s) he is referencing in each
category.63 He further concludes that the alleged corrective disclosures “dissipated the artificial




61
   To the extent that Plaintiff is pleading that in addition to the alleged misrepresentation that he “would not put
China in that category,” Mr. Cook failed to disclose “the risk of such pressure from economic deceleration and trade
tensions in China when he made the challenged statements” (MTD Ruling, p. 14, emphasis in original), that risk was
already disclosed by the Company and commented on by securities analysts by November 5, 2018. (See Appendix
D). I also note that Dr. Feinstein does not provide the trier of fact with tools to estimate damages that are causally
linked to allegedly understated risk. When a negative outcome is disclosed, this disclosure typically results in a
larger stock price drop than the stock price drop that would have occurred in response to a hypothetical disclosure of
incremental risk (rather than certainty) of this negative outcome. Consider an investor evaluating a lottery ticket that
promises to pay $10,000 with a 1% probability and nothing with a 99% probability in one hour. A rational investor
would pay $100 for this lottery ticket ($100 = 1% * $10,000 + 99% * $0). Suppose that the likelihood of the
$10,000 payoff was in fact only 0.9% and the likelihood of a $0 payoff was 99.1%. A rational investor would pay
$90 for this lottery ticket had she known the true odds ($90 = 0.9% * $10,000 + 99.1% * $0). The $10 difference
represents the difference between what the investor actually paid ($100) and what she would have paid had she
known the truth ($90). Now consider what happens when the lottery ends up not paying anything (i.e., when the
understated risk has materialized). The investor who paid $100 lost her entire investment. That $100 loss in
response to the materialization of understated risk tells nothing about how the investor would have valued the lottery
ex ante had she known the truth about the lottery odds. Dr. Feinstein’s analysis of the stock price decline on January
3, 2019, and purported inflation associated with this decline, is based on observing what happened when uncertainty
about Apple’s FQ1’19 performance largely resolved at the end of the Class Period (the analogue of the $100 loss by
the investor in the example above) and does not address the potential price drop (i.e., the $10 in the example above)
that would have happened had alleged incremental risk been disclosed at the start of the Class Period.
62
   Feinstein Merits Report, ¶ 12.
63
   From the view of an economist, a stock price can potentially become inflated due to a misrepresentation that can
take the form of an omission, a misstatement, or both. I understand that securities law distinguishes between the two
possibilities. First, a misstatement can impact the stock price and introduce inflation by positively changing
preexisting expectations. Second, the misstatement can maintain an already over-optimistic view of the company’s
business. Alternatively, an omission can hide problems in a company’s business. Whenever I refer to a
“misrepresentation” in this report, I am referring to an “omission” and/or a “misstatement.” My use of
“misrepresentation” is equivalent to Dr. Feinstein’s use of “misrepresentation and omissions.”




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inflation, causing the stock price to decline, in turn causing investors to sustain losses” and
therefore that “[t]he alleged misrepresentation and omissions [] caused investor losses.” 64
49.      Dr. Feinstein supports his loss causation opinion in two ways.
             a. First, he presents qualitative evidence in the form of (i) financial principles, (ii)
                  company statements, (iii) internal company communications, and (iv) analyst
                  statements that purportedly show that “the subject matter of the alleged
                  misrepresentation and omissions is economically material – that is, valuation
                  relevant and important to investors.” 65
             b. Second, he conducts an event study regression and finds negative and statistically
                  significant returns on three of five alleged corrective disclosure dates. He
                  considers this empirical evidence of loss causation on these three dates,
                  November 5, 2018, November 12, 2018, and January 3, 2019. 66 He does not
                  conclude that the stock price declines on the two dates that are not statistically
                  significant, December 4 and 6, 2018, were “caused by the corrective
                  disclosure.”67
50.      As I discuss below, Dr. Feinstein’s assessment of loss causation is flawed and unreliable.
First, as I discuss in Section X.A, Dr. Feinstein fails to assess the extent to which the but-for
disclosure that could and should have been made matches the actual alleged corrective
disclosures. Second, as I discuss in Section X.B, Dr. Feinstein fails to appropriately account for
confounding information not causally linked to the alleged fraud that was revealed on the alleged
corrective disclosure dates.




64
   Feinstein Merits Report, ¶ 14.
65
   Feinstein Merits Report, ¶¶ 76–85.
66
   Feinstein Merits Report, ¶¶ 86–120.
67
   Feinstein Merits Report, ¶¶ 115, 118.
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        A.       Dr. Feinstein Fails to Assess the Extent to Which the But-For Disclosure
                 That Could and Should Have Been Made Matches the Actual Alleged
                 Corrective Disclosures


51.     A key step in assessing loss causation is to determine the but-for disclosure, meaning
what information could and should have been disclosed in order to make the alleged
misrepresentation not misleading, and when this information could and should have been
disclosed. As described below, Dr. Feinstein is inconsistent with respect to what but-for
disclosure could and should have been made, and his discussion of the but-for disclosure fails to
reflect information that could and should have been disclosed as of November 1, 2018. Instead,
he asserts, without any analysis, that the market “would not have been surprised” 68 and
“[Apple’s] stock price would not have fallen significantly upon the ultimate disclosure” 69 had
investors been “fully and honestly informed”70 at the start of the Class Period. This assertion,
which essentially requires investors to have a crystal ball to predict future performance, has no
basis in literature in financial economics. 71

                 1.       Dr. Feinstein Is Inconsistent in Specifying the But-For Disclosure
                          That Could and Should Have Been Made


52.     Dr. Feinstein does not identify what but-for disclosure could and should have been made
as of the start of the Class Period. Instead, at various points in his report, Dr. Feinstein offers
inconsistent views on what Apple could and should have disclosed. By failing to provide a
consistent but-for disclosure that reflects “what Defendants knew and when they knew it,” 72 Dr.




68
   Feinstein Class Certification Reply Report, ¶ 59. See also Feinstein Merits Report, ¶ 153.
69
   Feinstein Class Certification Reply Report, ¶ 59.
70
   Feinstein Merits Report, ¶ 153.
71
   See discussion in ¶ 63 and fn. 91 below.
72
   Dr. Feinstein stated in his Class Certification Reply Report that “[i]t is [his] understanding that discovery is
ongoing in this case. Development of the record will inform the forensic analyst of the nature of the but-for full
disclosure scenario – what Defendants knew and when they knew it.” (Feinstein Class Certification Reply Report, ¶
40).




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Feinstein is unable to evaluate the extent to which the but-for disclosure matches the actual
alleged corrective disclosures.
53.      In his summary of Plaintiff’s allegations, Dr. Feinstein states that “according to Plaintiff,
the misrepresentation and omissions concealed the following” 73 three facts:
             a. True Fact #1: “that the U.S.-China trade tensions and economic conditions in
                  China were negatively impacting sales and demand for Apple products,
                  particularly iPhones”;74
             b. True Fact #2: “the Company had already begun to see declining traffic in Apple’s
                  retail stores and those of its channel partner stores in Greater China, and reports of
                  an overall contraction of the smartphone industry”; 75 and
             c. True Fact #3: “the Company had already, or was preparing to, cut iPhone
                  production at multiple manufacturers and reduce orders from its largest suppliers
                  of iPhone components for the current quarter and holiday season.” 76
54.      Dr. Feinstein also states that the “[c]orrective disclosures informed the market that,
contrary to what the market was previously led to believe, the Company was experiencing
negative economic pressures in the Greater China Region … and they elevated the risk that the
Company’s profitability would suffer as a result.” 77
55.      However, in his discussion of the December 6, 2018 alleged corrective disclosure date,
instead of discussing the existence of “pressure” Apple was facing in Greater China, Dr.
Feinstein discusses that the Company misrepresented the severity of that “pressure.” In
particular, he states that the “severity of the Company’s true performance in China was still
concealed and undisclosed to investors.”78 Given this inconsistency, it is not clear what but-for
disclosure Dr. Feinstein evaluates in his loss causation and damages analyses. It is also not clear



73
   Feinstein Merits Report, ¶ 23.
74
   Feinstein Merits Report, ¶ 23, citing Complaint, ¶ 24.
75
   Feinstein Merits Report, ¶ 23, citing Complaint, ¶ 24.
76
   Feinstein Merits Report, ¶ 23, citing Complaint, ¶ 24.
77
   Feinstein Merits Report, ¶ 77.
78
   Feinstein Merits Report, ¶ 65, emphasis added.




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whether Dr. Feinstein concedes that the market already knew that Apple was facing the existence
of “pressure” in Greater China as of December 6, 2018.
56.      The remaining alleged misrepresentation in this case is the statement by Mr. Cook that he
“would not put China in that category.” 79 The Court ruled that “the thrust of plaintiff’s
complaint [] is not merely that Cook misrepresented how poorly Apple was performing in China,
but that it was, in fact, performing poorly at all.” 80 Therefore, I understand that according to
Plaintiff’s theory, the but-for disclosure that could and should have been made was that Apple
was facing “pressure” in Greater China, not the severity of such “pressure.”
57.      Given the nature of the but-for disclosure that could and should have been made, it is
important to consider what such a disclosure would have conveyed to the market (and as
importantly, what would not have been conveyed). In particular, I understand that the alleged
misrepresentation concerns Apple’s outlook or performance in Greater China, so information
that is not about the outlook or performance in Greater China, such as performance or outlook
elsewhere in the world, would not be part of a hypothetical but-for disclosure. Dr. Feinstein
appears to recognize this in his damages analysis for January 3, 2019, where he identifies as
confounding news performance of “regions outside of China,” and seeks to exclude any impact
of such information from his calculation of inflation. 81
58.      Additionally, my understanding is that the but-for disclosure would not include
information that was not Apple’s standard practice to disclose. Luca Maestri stated in his
deposition that Apple did not provide a geographical breakdown of forecasts and Apple did not
provide intra-quarter forecasts.82 I also understand that it is not standard practice for Apple to



79
   Complaint, ¶ 18.
80
   Ruling on Class Certification, p. 15, emphasis in original.
81
   Feinstein Merits Report, ¶ 140.
82
   “[A] When we -- when we provide, and this has been consistent over the years, when we provide revenue
guidance for the upcoming quarter, we never provide guidance or information related to a specific geography. We
only talk about a revenue range for the entire company.” (Deposition of Luca Maestri, February 25, 2022 (“Maestri
Deposition”) (75:2–75:7)). “[A] And when we provide guidance to our investors for the upcoming quarter, we
never provide a mid-quarter update about the state of the business during the existing current quarter, and we do not
provide information about specific lines of business. Our revenue range that we disclose to the street is the
aggregate amount of revenue that we expect to generate during the quarter. We don’t say we expect to grow our




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disclose information about its production schedule or production cuts; Apple considered this
information confidential.83
59.      Finally, the alleged misrepresentation was made on November 1, 2018. The but-for
disclosure can only reflect information that could and should have been disclosed as of that date.
The but-for disclosure cannot include information that was only learned subsequently, and not
anticipated by the company.

                  2.       Dr. Feinstein’s Assertion That “Investors Would Not Have Been
                           Surprised” on the Alleged Corrective Disclosure Dates Had the But-
                           For Disclosure Been Made Forms the Core of His Loss Causation and
                           Damages Methodology, Yet Has No Support in His Report or
                           Literature in Financial Economics


60.      As I discuss above, the last two steps in a loss causation analysis are that one must (i)
determine whether there were any “corrective disclosures” that revealed the “but-for” disclosure,
and (ii) analyze whether and to what extent the disclosures caused alleged losses to investors. 84
Dr. Feinstein fails to properly address these two steps and instead asserts that had “analysts and
investors been fully and honestly informed by the Company at the start of the Class Period …
they would not have been surprised by the subsequent adverse announcements.” 85 As a result,
according to Dr. Feinstein, “the stock price would not have fallen significantly upon the ultimate
disclosure.”86 As explained below, this claim is false, unsupported, and has no basis in literature
in financial economics.



phone by ‘x’ or provide ranges. We provide only the total amount of revenue for the quarter.” (Maestri Deposition
(144:13–144:24)).
83
   “[Q] And you declined to -- is it accurate that you declined to comment on any production cuts on or around this
time? [A] As I have every year that we’ve done that. It’s not uncommon, right? We -- you probably know the
story. I mean, we try to protect for a high case always in our products, and at some point if we’re not going to hit
the high case we have to make some cuts from what people are expecting. Clearly, that’s what we were doing here.
We don’t talk about that on the record to anybody any year, and it’s happened many, many, many times.”
(Deposition of Greg Joswiak, March 15, 2022 (119:19–120:6)).
84
   See ¶ 36.
85
   Feinstein Merits Report, ¶ 153.
86
   In the Feinstein Class Certification Reply Report, Dr. Feinstein makes a nearly identical claim, also without any
support: “[i]t follows from fundamental principles of financial valuation that had investors not been deceived about




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61.     As a starting point, claiming that if investors “would not have been surprised” 87 by the
subsequent adverse announcements then “the stock price would not have fallen significantly
upon the ultimate disclosure”88 is a tautology. By definition, in an efficient market, only new,
unexpected (“surprising”) information is expected to impact the stock price. 89
62.      Dr. Feinstein’s assertion that had “analysts and investors been fully and honestly
informed by the Company at the start of the Class Period … they would not have been surprised
by the subsequent adverse announcements” 90 assumes that if Mr. Cook made a but-for disclosure
on November 1, 2018, then the market would have been able to predict subsequent negative
developments such as the guidance revision on January 2, 2019. I am not aware of any literature
in financial economics that would support a conclusion that “investors would not have been
surprised” on later dates had Apple disclosed that it was facing “pressure” in Greater China on
November 1, 2018.
63.     The standard economic literature on rational expectations shows that rational investors
incorporate the full range of potential future outcomes and the probabilities of those outcomes
occurring when valuing assets such as Apple stock. That literature does not state that investors
have a crystal ball such that they “would not have been surprised” when uncertainty about
potential outcomes gets resolved in the future. 91




conditions facing Apple in China, such that they would not have been surprised by the quantitative results later
announced, the stock price would not have fallen significantly upon the ultimate disclosure.” (Feinstein Class
Certification Reply Report, ¶ 59).
87
   Feinstein Class Certification Reply Report, ¶ 59. See also Feinstein Merits Report, ¶ 153.
88
   Feinstein Class Certification Reply Report, ¶ 59.
89
   Grenadier Class Certification Report, ¶¶ 33–36.
90
   Feinstein Merits Report, ¶ 153.
91
   For example, Robert Lucas wrote that the term “rationality of expectations” was coined by John Muth for the
hypothesis that prices “fully reflect all available information.” Professor Lucas does not state that the rational
investor can perfectly predict the ultimate outcome. (Lucas, Jr., Robert E., “Asset Prices in an Exchange Economy,”
Econometrica, Vol. 46, No. 6, 1978, pp. 1429–1445 at p. 1429). John Muth’s seminal paper also provides no
support for this proposition. (Muth, John, “Rational Expectations and the Theory of Price Movements,”
Econometrica, Vol. 29, No. 3, 1961, pp. 315–335). I understand that Dr. Feinstein opined elsewhere that “[b]ased
on the fundamental principles of market efficiency and rational expectations, because investors generally do not
make systematic errors in forecasting when they are equipped with full truthful information, one can estimate that
investors would have centered their forecasts on a valuation that reflected the ultimate outcome.” Dr. Feinstein
apparently cited to the articles by Professors Muth and Lucas that I discuss immediately above. (Mark Smilovits et




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         B.       Dr. Feinstein Fails to Appropriately Account for Confounding Information
                  Not Causally Linked to the Alleged Fraud That Was Revealed on the Alleged
                  Corrective Disclosure Dates


64.      Dr. Feinstein conducts an event study regression and finds negative and statistically
significant returns on three of five alleged corrective disclosure dates. He considers this
empirical evidence of loss causation on the three dates with statistically significant declines in
Apple’s stock price, November 5, 2018, November 12, 2018, and January 3, 2019. 92
65.      However, the presence of a negative and statistically significant return on an alleged
corrective disclosure date is insufficient by itself to establish that the alleged fraud caused
investor losses. An event study regression measures the value impact of the totality of
information revealed on a specific date.93 If multiple pieces of information are revealed
simultaneously, an event study regression captures the impact of all of that information, and does
not allow a researcher to separate the impact of one piece of information from another. 94
Further, an event study regression measures the impact of the actual information disclosed. It
generally does not allow a researcher to determine the impact of a different set of information. 95
66.      As described below, both of these limitations to event study analysis apply here. As a
result, Dr. Feinstein’s event study fails to reliably demonstrate that the losses that he attributes to
the alleged misrepresentation were caused by the alleged misrepresentation. For all three of the




al. v. First Solar, Inc. et al., Order, December 27, 2019, p. 14 and fn. 6). Rational investors indeed are correct on
average in the sense that they take into account the full range of possible outcomes when valuing stocks, including
highly positive outcomes, highly negative outcomes, and anything in between. For example, rational investors
facing two uncertain and equally likely future outcomes of $0 and $100 would forecast a $50 outcome on average.
This does not mean that “investors would have centered their forecasts on a valuation that reflected the ultimate
[negative] outcome.” Such pricing would have required a crystal ball with respect to the negative outcome that
nobody in financial markets has. In the simple example above, according to Dr. Feinstein’s flawed logic, if the ex
post outcome turned out to be $0, then he “can estimate that investors would have centered their [ex ante] forecasts
on a valuation that reflected the ultimate outcome” of $0. This is clearly wrong.
92
   Feinstein Merits Report, ¶¶ 86–120.
93
   For a discussion of event study methodology, see Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay,
The Econometrics of Financial Markets, 2nd ed., Princeton University Press, Princeton, NJ, 1997, Chapter 4.
94
   As I discuss below, Dr. Feinstein acknowledges that a statistically significant stock price decline can be driven by
confounding information. See ¶ 98.
95
   Cornell and Morgan (1990), pp. 889–891.




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alleged corrective disclosure dates, Dr. Feinstein fails to appropriately account for confounding
information not causally linked to the alleged fraud that was revealed on these dates. I discuss
these issues for each alleged corrective disclosure date below.

                 1.       November 5, 2018


67.      Plaintiff identifies news revealed on November 5, 2018 about production cuts at Apple
suppliers as an alleged corrective disclosure. Specifically, Plaintiff states that on November 5,
2018 a Nikkei Asia news article reported that “Apple told its top smartphone assemblers,
Foxconn and Pegatron, to reduce iPhone XR production … indicating a reduction in demand of
20-25%.”96 Dr. Feinstein concludes that the information disclosed on this date “partially
corrected the prior alleged misrepresentation and omissions” and “caused investor losses.” 97 He
also states that “[a]s there was no material confounding news, [he] conclude[s] that all of the
$7.17 residual price decline on 5 November 2018 was caused by the corrective disclosure.” 98
68.     As explained below, Dr. Feinstein inappropriately assumes that investors would have
foreseen and thus “would not have been surprised” by the November 5, 2018 alleged corrective
disclosure had the but-for disclosure been made on November 1, 2018. In making this
assumption, he fails to address that the November 5, 2018 disclosure involves information about
Apple’s business globally, not just in Greater China. As a result, he fails to account for
confounding information in his analysis of investor losses on November 5, 2018.
69.     As discussed in Section X.A.1, I understand that the but-for disclosure is that Apple was
facing “pressure” in Greater China. Additionally, I understand that the but-for disclosure would
not have included outlook or performance elsewhere in the world and that the but-for disclosure
would not have included production cuts, as it was not Apple’s standard practice to disclose such




96
   Complaint, ¶ 98. See also “Apple cancels production boost for budget iPhone XR: sources,” Nikkei Asia,
November 5, 2018.
97
   Feinstein Merits Report, ¶ 110.
98
   Feinstein Merits Report, ¶ 128.




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information.99 Dr. Feinstein fails to evaluate the extent to which what was disclosed on
November 5, 2018 (news related to global excess production cuts) matches the hypothetical but-
for disclosure that could and should have been made on November 1, 2018 (that Apple was
facing “pressure” in Greater China). He instead asserts that “[h]ad analysts and investors been
fully and honestly informed by [Apple] at the start of the Class Period … they would not have
been surprised by the subsequent adverse announcements.” 100 It is possible that the market
would have been able to infer some portion of production cuts reflecting softness of demand in
Greater China had Apple made the but-for disclosure on November 1, 2018. However, Dr.
Feinstein’s assertion that the entire residual stock price decline that took place on November 5,
2018 would have occurred on November 1, 2018 is flawed because he has not demonstrated how
the market would have been able to infer global production cuts from the but-for disclosure that
Apple was facing “pressure” in Greater China.
70.      Furthermore, Dr. Feinstein fails to address that Plaintiff points to “pressure” specific to
the Chinese market, as opposed to global “pressure,” when discussing the headwinds Apple was
experiencing in Greater China. For example, Dr. Feinstein and Plaintiff point to “U.S.–China
trade tensions and economic conditions in China,” “declining traffic in Apple’s retail stores … in
Greater China,”101 and competition from lower-priced Chinese smartphone competitors like
Huawei and Oppo.102
71.      Moreover, Plaintiff’s expert Dr. Shenkar notes pre-Class Period trends in the smartphone
market that were specific to Greater China and its competitive landscape. He states that
“[d]uring 2017 to 2018, the growing competition from local Chinese makers was the subject of
much media attention.”103 He also cites articles describing “an overall slowdown in the Chinese
smartphone market, as well as the resurgence of Huawei and smaller Chinese startups” as of




99
   See ¶¶ 56–58.
100
    Feinstein Merits Report, ¶ 153.
101
    Feinstein Merits Report, ¶ 23.
102
    Complaint, ¶ 10.
103
    Shenkar Report, ¶ 76.




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January 2018.104 Finally, based on an April 2018 article, Dr. Shenkar notes that the trend
continued, stating that “Huawei and Xiaomi saw an increase in shipments … [making it] evident
that Apple was facing an uphill battle to defend, not to mention buttress, its Chinese market
position.”105 Given that the alleged headwinds in Greater China are specific to Greater China,
Dr. Feinstein has not shown how the but-for disclosure that Apple was facing “pressure” in
Greater China would imply poor performance globally, and enable the market to perfectly
foresee global production cuts.
72.     Dr. Feinstein also fails to address the fact that the Apple suppliers that cut production
assemble iPhones sold globally, not just in Greater China. 106 I understand that Apple’s Master
Production Schedule (“MPS”)107 reduction for orders from suppliers, and the subsequent
production cut announcements, related to products sold globally, not just in Greater China. 108
The reduction in Apple’s iPhone forecasts between the iPhone XR launch and November 1, 2018
was predominantly related to production cuts outside of Greater China. Apple cut forecasts of
unbrickings109 both in Greater China and in other regions between October 25, 2018 and




104
    Shenkar Report, ¶ 73.
105
    Shenkar Report, ¶ 74, emphasis omitted.
106
    “Currently all iPhones are made in China, split among Foxconn, Pegatron and Wistron. iPhone shipments to the
US therefore are considered exports from China.” (“iPhone XR Cuts; India Production for the US Shipments,” JL
Warren Capital, November 20, 2018, p. 2).
107
    “And we have -- we send out a weekly signal called the MPS, master production schedule, and I would ask them
for the history of the MPS during this period.” (30(b)(6) Deposition of Donal Conroy, March 15, 2021 (“Conroy
Deposition”) (90:24–91:3)).
108
    “[Q] And you all had, in fact, begun to cancel production plans because of soft demand, particularly in China,
right? [A] We cut the forecast, as we had talked about before. And when you cut the forecast, generally speaking
you also cut the MPS. And the MPS ... represents the orders on suppliers. And so ..., you know, two always follows
one. [Q] And during that call, you didn’t mention that the traffic trends that you were seeing in China were
negative, did you? [A] As we talked about, the traffic trends that were on that chart were a problem in each geo. …
They weren’t unique to China.” (Deposition of Timothy D. Cook, February 9, 2022 (“Cook Deposition”) (225:16–
226:14)).
109
    I understand that Apple used “unbrickings” to measure when an iPhone was activated. Donal Conroy stated in
his deposition that an “unbricking” is measured when a user activates their iPhone. “[A] In addition, we have
reports we look at that shows us -- the terminology I use when end customers are activating our devices, and -- and
that is the term we generally use to say that’s the true end user demand signal. [Q] Is that what’s referred to as
unbricking? [A] Yes, it -- yes. Internally we use a phrase ‘unbricking’ for all activations, correct.” (Conroy
Deposition (60:13–60:20)). I understand that Apple tracked product sales using the “sell-in” metric. Luca Maestri
stated in his deposition that a “sell-in” occurs when a product gets shipped to a partner. “[A] … The difference
between Sell In and unbricks, the reason why the numbers are not the same, is because as we ship our products to




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November 1, 2018.110 The share of Greater China in the change in forecasts was only 21% for
iPhone XR111 and 14% for all iPhone models.112 These reductions are consistent with the fact
that Greater China was only a fraction of Apple’s global revenue, making up 20% of Apple’s
total revenue in both FY17 and FY18.113 Additionally, Mr. Poer’s report demonstrates that as of
November 1, 2018, Apple forecasted that 20% of the FQ1’19 global iPhone unbrickings would
occur in Greater China.114
73.      Dr. Feinstein’s treatment of news on November 5, 2018 (and November 12, 2018) is
internally inconsistent with his treatment of news on January 3, 2019. When analyzing the stock
price decline on January 3, 2019, Dr. Feinstein acknowledges that any price decline caused by
Apple’s performance outside of Greater China is “non-fraud-related confounding
information.”115 In particular, he states that the revenue shortfall announced on January 2, 2019
that was “attributed to emerging markets outside of Greater China constituted confounding
information” and “needs to be controlled for and subtracted from the Company-specific




our partners, that is called Sell In, unbricks is when the device gets activated. In between there is an amount of
inventory that remains in the channel so the numbers can be different.” (Maestri Deposition (100:25–101:17)).
110
    I understand that Apple pre-launched the iPhone XR on October 19, 2019, and while Mr. Maestri stated that pre-
order results from day one were “softer than what we had expected,” he clarified that the pre-launch was small
relative to the actual launch: “[Q] And this is an e-mail providing statistics on the pre-orders for the XR which had
just gone live the day before, correct? [A] Yeah … our iPhone online business, especially at the time, was a very
small percentage of our total business, probably less than ten percent. And so it’s a data point. It’s not -- you know,
it's not an all-inclusive view of what is happening. … Again, this is six days before the product reaches shelves
around the world. So this is no -- you know, it’s a very, very early and partial signal.” (Maestri Deposition
(111:25–113:6, 116:20–116:21); “Apple introduces iPhone XR,” Apple Inc. Press Release, September 12, 2018).
111
    I understand that as of October 25, 2018, Apple’s FQ1’19 unbricking forecast for iPhone XR was 22.233 million
globally and 4.970 million in Greater China. (“Total iPhone Summary,” October 25, 2018, APL-
SECLIT_00056796–952 at 796, 822). As of November 1, 2018, Apple’s FQ1’19 unbricking forecast for iPhone XR
was 14.600 million globally and 3.384 million in Greater China. (“Total iPhone Summary,” November 1, 2018,
APL-SECLIT_00057900–8057 at 7900, 7926).
112
    I understand that as of October 25, 2018, Apple’s FQ1’19 unbricking forecast for all iPhone models was 70.379
million globally and 13.555 million in Greater China. (“Total iPhone Summary,” October 25, 2018, APL-
SECLIT_00056796–952 at 796, 822). As of November 1, 2018, Apple’s FQ1’19 unbricking forecast for all iPhone
models was 63.792 million globally and 12.623 million in Greater China. (“Total iPhone Summary,” November 1,
2018, APL-SECLIT_00057900–8057 at 7900, 7926).
113
    2018 10-K, p. 26.
114
    Mr. Poer’s Schedule 9 shows that as of November 1, 2018, Apple was forecasting 12.623 million unbrickings in
Greater China in FQ1’19 for all iPhone models, while Apple was forecasting 63.792 million unbrickings worldwide
in FQ1’19 for all iPhone models.
115
    Feinstein Merits Report, ¶ 137.




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residual.”116 While Dr. Feinstein’s approach for January 3, 2019 is flawed and unreliable (as
discussed below in Section X.B.3, he nonetheless removes 24.2% of the residual price decline on
January 3, 2019 in an attempt to account for markets outside of Greater China. 117
74.     In contrast, Dr. Feinstein fails to even attempt to control for information conveyed about
markets outside of Greater China when analyzing the November 5, 2018 alleged corrective
disclosure date. Instead, he claims, without support, that there “was no material confounding
news”118 and inappropriately uses the entire residual price decline measured by his event study as
a measure of loss caused by the alleged misrepresentation.
75.     Therefore, Dr. Feinstein has not shown that the stock price “would have fallen by an
additional” amount of $7.17 equal to the residual decline of Apple’s stock price on November 5,
2018 had Apple made the but-for disclosure on November 1, 2018. 119

                2.      November 12, 2018


76.     Plaintiff identifies news revealed on November 12, 2018 about a revenue guidance
reduction from an Apple supplier as an alleged corrective disclosure. Specifically, Plaintiff
states that on November 12, 2018, “Lumentum, a supplier of iPhone components, issued a
negative preannouncement due to a reduction by one of its largest customers – identified as
Apple.”120 Dr. Feinstein concludes that the information disclosed on this date “partially
corrected the prior alleged misrepresentation and omissions” and “caused investor losses.” 121 He
also states that “[a]s there was no material confounding news, [he] conclude[s] that all of the
$4.82 residual price decline on 12 November 2018 was caused by the corrective disclosure.” 122
77.     As explained below, Dr. Feinstein inappropriately assumes that investors would have
foreseen and thus “would not have been surprised” by the November 12, 2018 alleged corrective




116
    Feinstein Merits Report, ¶ 139.
117
    Feinstein Merits Report, ¶ 146.
118
    Feinstein Merits Report, ¶ 128.
119
    Feinstein Merits Report, ¶ 153.
120
    Complaint, ¶ 103. See also “Lumentum Updates Outlook For Fiscal Second Quarter 2019,” Lumentum Press
Release, November 12, 2018.
121
    Feinstein Merits Report, ¶ 112.
122
    Feinstein Merits Report, ¶ 131.
                                                                                                    Page 33


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disclosure had the but-for disclosure been made on November 1, 2018. In making this
assumption, he fails to address that the November 12, 2018 disclosure involves information
about Apple’s business globally, not just in Greater China. As a result, he fails to account for
confounding information in his analysis of investor losses on November 12, 2018.
78.        As discussed in Section X.A.1, I understand that the but-for disclosure is that Apple was
facing “pressure” in Greater China, that the but-for disclosure would not have included outlook
or performance elsewhere in the world, and that the but-for disclosure would not have included
production cuts, as it was not Apple’s standard practice to disclose such information. 123 Dr.
Feinstein fails to evaluate the extent to which what was disclosed on November 12, 2018 (news
related to a revenue guidance reduction from a supplier) matches the hypothetical but-for
disclosure that could and should have been made on November 1, 2018 (that Apple was facing
“pressure” in Greater China).
79.        The same arguments for the November 5, 2018 alleged corrective disclosure date that I
discuss above apply to November 12, 2018 as well, including that Dr. Feinstein has not
demonstrated how the market would be able to infer global cuts from the but-for disclosure that
Apple was facing “pressure” in Greater China.
80.        As I discuss in Section X.B.1 above, internal projections show lower than expected
demand for iPhone XR both in Greater China and outside of Greater China following the iPhone
XR launch.124 Dr. Feinstein fails to account for the composition of production cuts in his loss
causation analysis.
81.        Furthermore, as I discuss in Section IX above, if Plaintiff’s theory of harm is that Apple
allegedly misrepresented that it was not facing any “pressure” in Greater China as of November
1, 2018, and if the November 5, 2018 disclosure revealed that Apple was facing “pressure,” then
Mr. Cook’s statement could not have caused Plaintiff’s alleged losses on November 12, 2018.




123
      See ¶¶ 56–58.
124
      See ¶ 72.




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                 3.       January 3, 2019


82.     Plaintiff states that on January 2, 2019, after the close of trading, Apple pre-announced its
financial results, reporting expected revenue for FQ1’19 of $84 billion, lower than the previous
guidance range of $89 billion to $93 billion.125 Dr. Feinstein concludes that the information
revealed on this date “corrected the prior alleged misrepresentation and omissions” and “caused
investor losses on this date.”126
83.     As discussed below, Dr. Feinstein fails to reliably demonstrate that the losses on January
3, 2019 that he attributes to the alleged misrepresentation were caused by the alleged
misrepresentation. First, Dr. Feinstein fails to demonstrate that the information conveyed in Mr.
Cook’s Letter to Shareholders, which included the guidance reduction to $84 billion, and his
subsequent CNBC interview, reflects the but-for disclosure that Apple could and should have
made on November 1, 2018, as opposed to reflecting new information about performance and
outlook that Apple learned between November 1, 2018 and January 2, 2019. As a result, Dr.
Feinstein fails to control for the key piece of confounding information on January 3, 2019, new
information that Apple learned after November 1, 2018. Second, while Dr. Feinstein recognizes
that there was negative news that “constituted non-allegation related confounding information”
on that day, he fails to reliably parse the impact of these additional pieces of confounding
information to isolate only the impact on the stock price, if any, due to the alleged
misrepresentation, rather than these confounding factors. 127

                          a)      Dr. Feinstein Fails to Demonstrate That the Information
                                  Revealed on This Date Reflected the But-For Disclosure,




125
    Complaint, ¶¶ 33–34. See also “Letter from Tim Cook to Apple Investors,” Apple Inc. Press Release, January 2,
2019; “CNBC Exclusive: CNBC Transcript: Apple CEO Tim Cook Speaks with CNBC’s Josh Lipton Today,”
CNBC, January 2, 2019, available at https://www.cnbc.com/2019/01/02/cnbc-exclusive-cnbc-transcript-apple-ceo-
tim-cook-speaks-with-cnbcs-josh-lipton-today.html.
126
    Feinstein Merits Report, ¶ 120.
127
    Feinstein Merits Report, ¶ 140.
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                                        Rather Than New Information Learned after November 1,
                                        2018


84.        As discussed in Section X.A.1 above, I understand that the but-for disclosure is that
Apple was facing “pressure” in Greater China and that the but-for disclosure would not have
included outlook or performance elsewhere in the world. Importantly, this disclosure must be
based on information that Apple could and should have disclosed as of this date—it should not
reflect new information Apple learned after November 1, 2018.
85.        In assessing the January 2, 2019 alleged corrective disclosure date, Dr. Feinstein fails to
demonstrate that the updated revenue guidance of $84 billion revealed on this date reflects the
but-for disclosure, rather than at least partially reflecting new, confounding information learned
between November 1, 2018 and January 2, 2019. Further, he presents no analysis that the market
would have foreseen this result had the but-for disclosure been made on November 1, 2018 that
Apple was facing “pressure” in Greater China, particularly given that Apple itself did not. Thus,
Dr. Feinstein’s analysis of loss causation fails to account for a critical mismatch between the
alleged misrepresentation and the alleged corrective disclosures.
86.        Dr. Feinstein asserts, without any support, that investors “would not have been
surprised”128 by the disappointing performance in Greater China that Apple disclosed on January
2, 2019 had “investors been fully and honestly informed by the Company at the start of the Class
Period.”129 In contrast, Apple’s internal forecasts reflect that it was surprised by what ultimately
transpired between November 1, 2018 and January 2, 2019.
87.        As previously discussed, Apple provided a guidance range of $89 billion to $93 billion
on November 1, 2018. My understanding is that Plaintiff does not allege that this guidance range
was false, nor does Plaintiff allege that the guidance did not reflect Apple’s then-current
understanding incorporating the information Apple knew about its outlook and performance in




128
      Feinstein Merits Report, ¶ 153.
129
      Feinstein Merits Report, ¶ 153.




                                                                                                 Page 36


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Greater China at that time.130 As of November 1, 2018, Apple, with the benefit of the
information that was allegedly concealed regarding the business outlook and performance in
Greater China, had an internal “likely” forecast of $90.678 billion, near the midpoint of the
disclosed guidance range.131 Apple gave a guidance range of $89 billion to $93 billion, which
was consistent with its forecasted high ($93.423 billion) and low ($88.813 billion) for the
quarter.132
88.      However, Apple’s actual FQ1’19 revenue of $84.310 billion133 came in over $6 billion
below the “likely” revenue forecast from November 1, 2018, after Apple learned how its
business was performing in Greater China and elsewhere during the remainder of the quarter. 134
Even Apple’s “internal low” forecast as of the November 1, 2018 earnings call, $88.813 billion,
was still almost $5 billion higher than the updated guidance of $84 billion provided on January 2,
2019.135
89.      The Poer Report summarizes Apple’s internal iPhone unbricking forecasts, and shows
that Apple lowered its forecasts in both Greater China and in worldwide regions excluding
Greater China in early November (after the November 1, 2018 call) and then lowered its
forecasts of performance in Greater China further in late November and December 2018. 136 I
have presented the same data in Exhibit 1.
90.      Dr. Feinstein does not provide any analysis that demonstrates that had Apple additionally
disclosed that it was facing “pressure” in Greater China, the market would have not only lowered
its expectations of FQ1’19 revenue but also lowered them much beyond the expectations that
Apple developed internally as of November 1, 2018. As I discuss in Section X.A.2 above, there



130
    Complaint, ¶¶ 53–57, 66.
131
    “Q1’19 P&L Dashboard Scenarios 11/1 v2,” November 2, 2018, 9:39AM, APL-SECLIT_00284951. Mr. Poer
stated: “These one page spreadsheet P&L Dashboard Reports include multiple scenario forecasts of total Q1
FY2019 Apple income statement components by product. The reports were generated periodically throughout the
quarter and include forecasted amounts in dollars, sales units, unbrickings by product, and year-over-year
comparisons.” (Poer Report, ¶ 15).
132
    “Q1’19 P&L Dashboard Scenarios 11/1 v2,” November 2, 2018, 9:39AM, APL-SECLIT_00284951.
133
    “Apple Reports First Quarter Results – Consolidated Financial Statements,” Apple Inc. Press Release, January
29, 2019.
134
    $90.678 billion - $84.310 billion = $6.368 billion. As of December 7, 2018, Apple’s internal “likely” forecast
was $86.322 billion, which reflected forecast reductions that occurred in the first half of the Class Period. (“Q1’19
P&L Dashboard Scenarios 12/7,” December 7, 2018, APL-SECLIT_00361813).
135
    “Q1’19 P&L Dashboard Scenarios 11/1 v2,” November 2, 2018, 9:39AM, APL-SECLIT_00284951.
136
    Poer Report, Chart 9.
                                                                                                                Page 37


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is no support in literature in financial economics for the proposition that the market possesses a
crystal ball.
91.     In his Class Certification Reply Report, Dr. Feinstein emphasizes the need to review
internal documents to account for Apple’s changing expectations of its performance in Greater
China during the Class Period:

          Further, any empirical evidence that may be produced showing that the
          Company’s performance in China improved or deteriorated over the course of
          the Class Period in a manner unknown and unpredictable to Defendants, if
          such evidence does exist and becomes available, can be incorporated into the
          valuation analysis to appropriately scale down the artificial inflation
          attributable to the alleged misrepresentations and omissions. That is, the very
          evidence that might indicate that inflation did vary due to changing conditions
          can be incorporated into the damage analysis in a straightforward and class-
          wide common manner to inform how much inflation varied. 137

In the same Class Certification Reply Report, Dr. Feinstein also states that one should remove
the stock price effect of information that was “unknown and unknowable” at the start of the
Class Period:

          If the evidence indicates that 20% of the earnings miss was unknown and
          unknowable to the company, and would have been a surprise to investors even
          if there had been full disclosure, and therefore was completely unrelated to the
          alleged misrepresentations and omissions, then a 20% portion of the surprise
          can be deemed confounding information, and the corresponding 20% of the
          residual stock price decline should be attributable to the non-fraud factors. 138

In contrast to what he claims in his Class Certification Reply Report, in his Merits Report Dr.
Feinstein fails to account for the downward updates to Apple’s internal forecasts made after
November 1, 2018 and fails to isolate the stock price effect of information that Apple could and




137
   Feinstein Class Certification Reply Report, ¶ 54.
138
   Feinstein continues, stating “[I]f Company documents or other evidence do in fact indicate that there was some
truly unanticipated deterioration in the Company’s performance during the quarter such that some portion of the
subsequently disappointing results would have been equally surprising to investors regardless of whether or not
there were alleged misrepresentations and omissions, the proportionate amount of the residual stock price decline
can be treated as non-fraud-related and excluded from damages. Such adjustments are neither unusual nor
exceptionally complex, but they do require full development and a complete examination of the evidentiary record.”
(Feinstein Class Certification Reply Report, ¶ 55).
                                                                                                             Page 38


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should have disclosed at the start of the Class Period. This renders his approach to analyzing
losses on January 3, 2019 caused by the alleged misrepresentation flawed and unreliable.
92.     Consistent with Apple lowering its internal forecasts in response to new information
learned after November 1, 2018, there were multiple unexpected headwinds that occurred during
this time period. For example, as I discuss in my Class Certification Report, the trade war
between the U.S. and China was pushing some customers to local brands as a result of nationalist
sentiment.139 Additionally, I demonstrate that the Caixin China General Manufacturing
Purchasing Managers’ Index (“PMI”) survey showed that the economic conditions in China at
the end of 2018 were worse than what had been forecasted by economists. 140
93.     Dr. Yang also describes a number of unexpected headwinds that occurred after
November 1, 2018. For example, Dr. Yang discusses that general “macroeconomic conditions in
China’s economy worsened unexpectedly in November and December 2018,” 141 the
“smartphone market weakened during November and December 2018,” 142 and that “Apple faced
unexpected adverse consumer sentiment after the detention of Huawei’s CFO” on December 1,
2018.143
94.     In his report, Plaintiff’s expert Dr. Shenkar also discusses how Chinese consumers can
react quickly and aggressively to changes in nationalist sentiment (as they did after the detention
of Huawei’s CFO, as discussed by Dr. Yang). Dr. Shenkar emphasizes that when nationalist
sentiment turned against Japan in 2012, sales of Japanese cars fell 35%–45% year-over-year,
despite the fact that the cars were produced in China. 144
95.     Finally, as I discuss in Section IX above, if Plaintiff’s theory of harm is that Apple
allegedly misrepresented that it was not facing any “pressure” in Greater China as of November



139
    Grenadier Class Certification Report, ¶¶ 134–135.
140
    Grenadier Class Certification Report, ¶¶ 66–67.
141
    Yang Report, ¶¶ 13–70.
142
    Yang Report, ¶¶ 71–77.
143
    Yang Report, ¶¶ 78–84.
144
    “[D]uring nationalist tension against Japan in the Fall of 2012 (following the purchase by Japan of contested
islands in the South China Sea), sales of Japanese cars plunged by roughly 35% to 45% year over year (September
2011 to September 2012). It did not matter that most of the cars were made in China.” (Shenkar Report, ¶ 65).




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1, 2018, and if the November 5, 2018 disclosure revealed that Apple was facing “pressure,” then
Mr. Cook’s statement could not have caused Plaintiff’s alleged losses on January 3, 2019.
Alternatively, if Plaintiff fails to show that the market learned on November 5, 2018 that Apple
was facing “pressure” in Greater China but were able to show that the market learned on
November 12, 2018 that Apple was facing “pressure,” then Mr. Cook’s statement could not have
caused Plaintiff’s alleged losses on January 3, 2019.145

                           b)       Dr. Feinstein Fails to Reliably Account for Other Confounding
                                    Information Revealed on This Date That Is Not Causally
                                    Linked to the Alleged Fraud


96.      As discussed above,146 Dr. Feinstein fails to identify and exclude the portion of the stock
price decline on January 3, 2019 that was due to new information about Greater China that Apple
did not anticipate on November 1, 2018 and only learned subsequently.
97.      Moreover, Dr. Feinstein concedes that there was other “negative news” revealed on
January 2, 2019 that “regions outside of China contributed to the announced revenue shortfall,
and this constituted non-allegation related confounding information” and that, therefore, “some
of the [] residual stock price decline was not dissipation of allegation-related artificial
inflation.”147 Thus, Dr. Feinstein concedes that he needs to parse out confounding news in order
to quantify what portion of the return, if any, on January 3, 2019 is attributable to the correction
of the alleged misrepresentation.148
98.      Dr. Feinstein claims to remove the confounding information that impacted Apple’s stock
price on January 3, 2019 as follows:




145
    The only scenario where Plaintiff can demonstrate that any losses on January 3, 2019 were causally linked to the
alleged misrepresentation is the hypothetical scenario where the market learned for the first time on this date that
Apple was facing “pressure” in Greater China as of November 1, 2018.
146
    See Section X.B.3.a).
147
    Feinstein Merits Report, ¶ 140.
148
    Feinstein Merits Report, ¶ 140.




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             a. First, he calculates the revenue surprise relative to the market’s expectation based
                  on the difference between the FQ1’19 mean revenue consensus forecast from
                  I/B/E/S of $91.49 billion as of December 31, 2018 149 and the actual revenue of
                  $84.31 billion reported on January 29, 2019. Dr. Feinstein determines that the
                  revenue surprise was negative $7.18 billion, and states that he uses this amount
                  “as a proxy for assessing the relative impacts of the fraud-related China
                  disclosures and the confounding factors stemming from other regions.” 150
             b. Second, he purports to develop a measure of the market’s expectation of revenue
                  for Greater China. To do so, he starts with Apple’s FQ1’18 actual Greater China
                  revenue of $17.96 billion, to which he applies a growth rate. Based on FQ1’18
                  actual global revenue and the FQ1’19 consensus forecast, Dr. Feinstein
                  determines that Apple as a whole was expected to grow revenue by 3.6% year-
                  over-year. Dr. Feinstein claims that one can conservatively assume Greater China
                  was forecasted to grow at 3.6% because “Greater China was expected to perform
                  better than other emerging markets, had previously been one of the Company’s
                  fastest growing markets, and was represented to be unaffected by negative
                  economic pressures.”151 Based on this growth rate, he assumes that the market
                  was anticipating FQ1’19 revenue of $18.61 billion in Greater China.
             c. Third, he observes that Apple reported actual FQ1’19 revenue in Greater China of
                  $13.17 billion on January 29, 2019 and assumes that revenue in Greater China
                  was therefore $5.44 billion lower than the market’s expectations. As such, he




149
    Dr. Feinstein states that the consensus forecast comes from Refinitiv Eikon (Feinstein Merits Report, fn. 103).
Based on a review of I/B/E/S data from Refinitiv Eikon, it appears that Dr. Feinstein is using the mean consensus
forecast. As I discuss below, it appears that the I/B/E/S FQ1’19 consensus forecast used by Dr. Feinstein contains a
forecast that is stale. (See fn. 198 below).
150
    Feinstein Merits Report, ¶¶ 142, 143.
151
    Feinstein Merits Report, ¶ 144.




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                 concludes that of the $7.18 billion total revenue shortfall relative to market
                 expectations, $5.44 billion (or 75.7%) was due to Greater China. 152
99.     Dr. Feinstein asserts that his approach to parsing the January 3, 2019 stock price decline
is conservative, “because the revenue surprise was only one element of the negative news
disclosed that day and the rest of the negative news comprised corrective information about
China.”153 As an initial matter, Dr. Feinstein fails to control for the extent to which information
that Apple learned after November 1, 2018 drove the January 2, 2019 pre-announcement. 154
Even setting this issue aside, Dr. Feinstein fails to substantiate his assertion that the proportion of
the price decline on January 3, 2019 that he attributes to the revenue miss in Greater China as of
January 2, 2019 (76%) is “conservative.”
100.    Contrary to Dr. Feinstein’s unsupported assertion that “the rest of the negative news
comprised corrective information about China,” 155 the analyst reports issued following the
January 2, 2019 alleged corrective disclosure discussed a number of pieces of confounding news.
Some of the confounding information would have affected the FQ1’19 revenue guidance
revision, but also may have provided negative information above and beyond the guidance
revision that would continue to impact Apple going forward. For example, as I show in Exhibit
2, analysts discussed (i) a weaker than expected iPhone upgrade cycle in the quarter and going
forward,156 which analysts attributed to factors such as the battery replacement program, lack of
carrier subsidies, and currency trends driving price increases; 157 (ii) a lack of iPhone pricing




152
    Feinstein Merits Report, ¶ 145.
153
    Feinstein Merits Report, ¶ 141.
154
    See Section X.B.3.a).
155
    Feinstein Merits Report, ¶ 141.
156
    “While we had anticipated a stronger upgrade cycle heading into 2019 from to the new XS, XS Max and XR
models, we believe the installed iPhone user base remains loyal and anticipate lower but stable replacements [sic]
rates going forward to drive steady iPhone sales through C2020. Given the higher priced iPhones, we now believe
consumers are holding on to their iPhones longer. Therefore, we have lowered our replacement rate upgrades from
roughly 23% of the new iPhone user base (excludes refurbished sales) to roughly 20% of iPhone owners will
upgrade to a new iPhone in 2019 and 2020.” (“Weak iPhone sales result in $7B shortfall to Q1/F’19 guidance;
lowering estimates and PT to $190,” Canaccord Genuity, January 2, 2019, p. 2, emphasis added).
157
    “In a further negative, Apple noted that developed markets were impacted by a worse than expected iPhone
upgrade cycle, driven by weaker macro environment, fewer carrier subsidies, stronger dollar impacting ASPs,




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power on a global basis and concerns that iPhone prices were too high; 158 and (iii) disappointing
gross margins that were at the low end of the guided range. 159 While the analyst commentary
contained a mix of reactions, with some stating that the information was new and negative, and
others stating that the information was expected, Dr. Feinstein has failed to address the specific
negative pieces of confounding news, and has failed to analyze the extent to which this new
information could impact market expectations going forward and did impact the stock price on
January 3, 2019.
101.     Moreover, to the extent that the non-Greater-China-related information had a stronger or
longer-lasting impact on expected future cash flows, Dr. Feinstein’s estimate could overstate the
portion of the price decline attributable to the revenue miss as of January 2, 2019 in Greater
China.160 For example, Nomura analysts wrote on January 2, 2019:


          Partly structural, partly cyclical. Apple noted fewer carrier subsidies and
          reduced battery replacement pricing. These seem but a half step away from
          recognizing ASPs are structurally too high. Conversely, trade tensions, product
          boycotts, and even macro concerns all seem cyclical.161

102.     By failing to appropriately account for confounding information in his loss causation
analysis, Dr. Feinstein has not shown that any of Plaintiff’s alleged losses on January 3, 2019
were caused by the alleged misrepresentation.




and prolonged use of older models given reduced pricing for iPhone battery replacements.” (“Rare neg pre: cut to
guide on weak China, iPhones; Services better. PO to $195,” Bank of America, January 2, 2019, p. 1, emphasis
added).
158
    “While the deterioration in U.S.-China relations clearly contributed to the weakness in F1Q, we believe the
results also reflect a lack of incremental iPhone pricing power on a global basis, commoditization of iPhone
hardware, and App Store monetization that is likely near a medium-term peak. This is a damaging combination of
factors that has no simple fix, in our view, and seems unlikely to moderate in the foreseeable future.” (“Guidance
Revision Suggests More Issues Than Just China,” KeyBanc, January 2, 2019, p. 2, emphasis added).
159
    “The incremental challenges were related to: a) Greater China: Accounted for much of the revenue shortfall
(~$7B) and all the y/y revenue decline (5%) was driven by China softness; b) some developed countries saw weaker
than expected iPhone upgrades happen; & c) GM’s [sic] are towards the low-end of guide and surprisingly OPEX
remained at $8.7B.” (“From China With Love,” RBC, January 2, 2019, p. 1, emphasis added).
160
    In the Feinstein Class Certification Reply Report, Dr. Feinstein concedes: “If certain factors responsible for the
earnings miss are identified as non-recurring while others are expected to be persistent, the valuation literature
dictates that greater valuation attribution be given to the persistent factors.” (Feinstein Class Certification Reply
Report, ¶ 48).
161
    “Bear in a China Shop: Severe iPhone Miss Partially Offset by Other Units,” Nomura, January 2, 2019, p. 1.
                                                                                                                  Page 43


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XI.        Dr. Feinstein’s Damages Calculation Is Flawed, Unreliable, and Overstates Inflation


103.       The starting point of Dr. Feinstein’s damages analysis is his assessment of loss causation.
As such, all shortcomings in Dr. Feinstein’s loss causation analysis described in Section X above
also apply to his assessment of damages. Because Dr. Feinstein’s analysis of the losses caused
by the alleged misrepresentation is flawed and unreliable, he has failed to show that there are any
damages to shareholders.
104.       Further, as I discuss in Section XI.A below, by focusing only on the alleged corrective
disclosure dates, Dr. Feinstein does not undertake any analysis to demonstrate that the alleged
misrepresentation introduced inflation at the start of the Class Period in the first place.
Additionally, as I discuss in Section XI.B, Dr. Feinstein’s analysis of inflation fails to address
that the hypothetical but-for disclosure would have been qualitative in its nature while the
alleged corrective disclosures had important quantitative components.
105.       Finally, Dr. Feinstein’s attempt to measure the change in inflation on November 5, 2018,
November 12, 2018, and January 3, 2019 as a part of his damages analysis is flawed and
unreliable. Specifically, Dr. Feinstein fails to isolate the impact of the alleged fraud, if any, from
other confounding factors. In Sections XI.C and XI.D below, I discuss these shortcomings for
each of the three alleged corrective disclosure dates.

           A.       Dr. Feinstein Fails to Demonstrate That the Alleged Misrepresentation
                    Introduced Inflation into the Stock Price as of the Start of the Class Period


106.       Dr. Feinstein’s conclusion that the alleged misrepresentation inflated Apple’s stock price,
and that the alleged corrective disclosures subsequently dissipated inflation, is based on
examining the stock price declines when the alleged corrective disclosures occurred. 162 Dr.
Feinstein does not demonstrate that the alleged misrepresentation introduced inflation at the start
of the Class Period, given that analysts discussed that Apple faced headwinds in Greater China
both before and after the alleged misrepresentation, and that analyst consensus expectations were




162
      Feinstein Merits Report, ¶ 149.
                                                                                               Page 44


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well within the range of Apple’s own internal forecasts and guidance range following the alleged
misrepresentation.
107.     The Gauna Report and Trueman Report address the information discussed by market
participants regarding headwinds Apple was facing in Greater China prior to November 1, 2018,
and whether the information discussed by analysts may have changed following the alleged
misrepresentation. Mr. Gauna opines that Apple’s guidance given on November 1, 2018
“reflected slowing business trends and heightened uncertainties in China that were recognized by
the market” and further that “the market did not hear Mr. Cook to say or imply there was no
pressure or risks related to Apple’s business in China.” 163 Professor Trueman opines that “an
overwhelming majority of the analysts that discussed China discussed that Apple’s business in
China was facing pressure prior to the [November 1, 2018] call.” 164 Professor Trueman also
opines that “analysts, and by extension the market, understood that Apple faced pressure in
China,” and “did not understand Mr. Cook’s Challenged Statement to say there was no pressure
on Apple’s business in China.”165 My Class Certification Report also summarizes analyst
commentary on headwinds in Greater China and their potential impact on Apple’s business. I
show commentary regarding such headwinds both before and after the November 1, 2018
earnings call.166
108.     Further, Apple provided updated guidance of $89 billion to $93 billion on November 1,
2018 that was lower than the guidance analysts were expecting, and had a wider range than was
typically provided.167 My understanding is that Plaintiff is not challenging this guidance as false,



163
    Gauna Report, ¶ 12.
164
    Trueman Report, ¶ 54.
165
    Trueman Report, ¶ 27.
166
    Grenadier Class Certification Report, ¶¶ 99–107, 109–116, Exhibit 3.
167
    For example, a Cross Research analyst report stated, “Apple provided revenue guidance for F1Q19 with a $4
billion range, greater than the $2 billion to $3 billion range over the past three years due to a number of factors.”
(“F4Q18 Review; Focusing Attention On Services, Limiting Hardware Disclosure,” Cross Research, November 1,
2018, p. 2). A Daiwa analyst report stated, “For 1Q19 the mid-point of revenue guidance of $89b-$93b is ~$2b
below the street’s estimate of $92.9b.” (“Good, above guidance 4Q, but weaker q/q momentum,” Daiwa, November
1, 2018, p. 1). A Nomura analyst report stated, “After a modest F4Q beat, Apple offered disappointing F1Q guide
of $91bn (midpoint of a wider range).” (“More than a Miss; Sustained Downturn Likely,” Nomura, November 2,
2018, p. 1).




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nor is Plaintiff alleging that the guidance did not reflect Apple’s then-current understanding
incorporating the information Apple knew about its outlook and performance in Greater China at
that time.168 Mr. Poer confirmed that Apple’s most up-to-date information, including the most
current forecast of unit unbrickings, was used in generating the $89 billion to $93 billion revenue
guidance range provided by Mr. Cook on November 1, 2018. 169
109.    After November 1, 2018, the consensus forecast for FQ1’19 revenue was $92.088 billion,
which was well within Apple’s guided range.170 Additionally, the guidance range midpoint of
$91 billion was near Apple’s internal “likely” forecast of $90.678 billion, and the guidance low
($89 billion) and high ($93 billion) were consistent with Apple’s internal low/high forecast range
of $88.813 billion to $93.423 billion.171
110.    Dr. Feinstein does not explain how the alleged misrepresentation introduced inflation
considering that analysts stated that Apple faced headwinds in Greater China both before and
after the alleged misrepresentation, and that analyst consensus expectations were well within
Apple’s own guidance range and its range of internal forecasts.




168
    Complaint, ¶¶ 53–57, 66.
169
    Poer Report, ¶¶ 34–36.
170
    $92.088 billion is the mean forecast of Apple’s FQ1’19 revenue across 33 contributors with reports issued
between the earnings call and November 4, 2018. This includes forecasts from analyst reports tracked by Apple,
and is supplemented with analyst reports listed in my Appendix C. Apple calculated that the consensus forecast
was $92.071 billion based on the mean of 31 contributors. (APL-SECLIT_00284232) I understand that Apple’s
consensus was prepared on November 2, 2018. (Email from Tejas Gala to Luca Maestri, et al., “Re: Consensus
Update 110218 - Post Earnings,” with attachments, November 2, 2018, APL-SECLIT_00284221–8). I/B/E/S
consensus forecast is updated monthly, and an updated analyst consensus is not available until after the November 5,
2018 and November 12, 2018 alleged corrective disclosures. According to I/B/E/S, the consensus is updated “mid-
month [because in the] earlier days when most brokerage research was released by US Mail on the first of the month
[t]he two-week lead-time was necessary to process, print and ship the data to clients.” (“The I/B/E/S Glossary,”
I/B/E/S International, Inc., 2000, p. 7).
171
    “Q1’19 P&L Dashboard Scenarios 11/1 v2,” November 2, 2018, 9:39 AM, APL-SECLIT_00284951.




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           B.      Dr. Feinstein’s Analysis of Inflation Fails to Address That the Hypothetical
                   But-For Disclosure Would Have Been Qualitative in Its Nature While the
                   Alleged Corrective Disclosures Had Important Quantitative Components


111.       Dr. Feinstein fails to address that there is a mismatch between the but-for disclosure—
that Apple was experiencing “pressure” in Greater China—and the content of the alleged
corrective disclosures regarding (i) production cuts, (ii) supplier revised guidance, and (iii) the
FQ1’19 revenue guidance revision. While the but-for disclosure is a qualitative statement, the
stock price reactions on November 5, 2018, November 12, 2018, and January 3, 2019 were in
response to both quantitative and qualitative information.
112.       Plaintiff alleges that new information disclosed on November 5, 2018 and November 12,
2018 revealed that (i) Apple manufacturers had faced production cuts and a supplier revised
guidance, and (ii) that the production cuts indicated a 20%–30% reduction in demand. 172 The
information Plaintiff points to on November 5, 2018 and November 12, 2018 as correcting the
alleged misrepresentation contained both a qualitative aspect (that production cuts had occurred)
and a quantitative aspect (the size of the production cuts). Similarly, on January 2, 2019,
Plaintiff also points to an aspect of the allegedly corrective information that is qualitative (that
Apple experienced disappointing performance in Greater China) and an aspect of the allegedly
corrective information that is quantitative (revenue guidance of $84 billion). 173 However, as I
discuss in Section X.A.1 above, the but-for disclosure is purely a qualitative statement that Apple
was facing “pressure” in Greater China. Dr. Feinstein fails to account for the impact of the
quantitative information disclosed on the alleged corrective disclosure dates, which results in a
flawed and unreliable calculation of inflation.
113.       In his Class Certification Reply Report, Dr. Feinstein claims that the mismatch between
the qualitative but-for disclosure and quantitative alleged corrective disclosures is a resolvable
issue:




172
      Complaint, ¶¶ 98–104.
173
      Complaint, ¶¶ 105–106.




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             Had Apple informed the market that it was experiencing “negative economic
             pressures” in China but declined to provide any quantitative detail (the
             scenario Dr. Grenadier suggests would portray a full corrective disclosure), the
             market would still be able to value Apple stock. How investors respond to
             information gaps has been intensively studied by economists. 174

114.       In the same report, Dr. Feinstein also points to academic literature on information gaps
and asymmetric information as the relevant literature that will supposedly guide him in resolving
this issue of mismatch between a qualitative but-for disclosure and quantitative alleged
corrective disclosures. However, in the Feinstein Merits Report, Dr. Feinstein does not reference
this literature at all, nor does he apply any adjustment that could bridge the mismatch between a
qualitative but-for disclosure and quantitative alleged corrective disclosures. Furthermore, the
work by Akerlof, Spence, and Stiglitz175 that Dr. Feinstein cites does not support his false
assumption that investors would have had a crystal ball that would have allowed them to predict
Apple’s actual performance based on the qualitative but-for disclosure made earlier.

           C.        Dr. Feinstein Fails to Isolate the Impact of the Alleged Fraud, If Any, from
                     Other Confounding Factors on November 5, 2018 and November 12, 2018


115.       As I discuss in Sections X.B.1 and X.B.2 above, while Dr. Feinstein acknowledges and
purports to parse confounding news about Apple’s performance outside of Greater China that
impacted Apple’s stock price on January 3, 2019, Dr. Feinstein fails to control for information
conveyed about markets other than Greater China when analyzing the November 5, 2018 and
November 12, 2018 alleged corrective disclosures. In fact, Dr. Feinstein fails to address that the
production cuts were for Apple’s business globally, not just Greater China.
116.       By failing to account for information about Apple’s performance outside of Greater
China that was learned by the market on November 5, 2018 and November 12, 2018, Dr.
Feinstein’s damages analysis fails to isolate only those losses, if any, that were caused by the
alleged misrepresentation that Mr. Cook “would not put China in that category.” As a result, Dr.
Feinstein’s inflation ribbon that incorporates the entire residual stock price declines on




174
      Feinstein Class Certification Reply Report, ¶ 61.
175
      Feinstein Class Certification Reply Report, ¶ 61.
                                                                                                Page 48


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November 5, 2018 and November 12, 2018 would inappropriately compensate investors for
losses causally linked to production cuts caused by global demand, rather than only those related
to Greater China.

         D.       Dr. Feinstein Fails to Isolate the Impact of the Alleged Fraud, If Any, from
                  Other Confounding Factors on January 3, 2019


117.     For January 3, 2019, Dr. Feinstein identifies “negative non-fraud-related confounding
information”176 due to “revenue shortfall attributed to emerging markets outside of Greater
China” and claims to control for this confounding information. 177 Dr. Feinstein further claims
that his approach to determining the portion of the stock price decline on January 3, 2019
attributable to information about Greater China is conservative “because the revenue surprise
was only one element of the negative news disclosed that day and the rest of the negative news
comprised corrective information about China.” 178
118.     Dr. Feinstein’s analysis fails to reliably determine the amount of inflation, if any,
removed on this date. First, as I discuss in Section X.B.3.a) above, Dr. Feinstein needs to
determine what portion, if any, of Apple’s stock price decline on January 3, 2019 was caused by
revelation of information that Apple allegedly could and should have disclosed on November 1,
2018 (i.e., that it was facing “pressure” in Greater China). Instead, he inappropriately focuses on
trying to attribute a portion of Apple’s stock price decline on January 3, 2019 to information that
Apple knew about its performance in Greater China as of January 2, 2019.179 Second, as
discussed in Section X.B.3.b), even setting aside Dr. Feinstein’s failure to control for the extent
to which information that Apple learned after November 1, 2018 drove the January 2, 2019 pre-
announcement, Dr. Feinstein fails to substantiate his assertion that the proportion of the price
decline on January 3, 2019 that he attributes to the revenue miss in Greater China as of January
2, 2019 (76%) is “conservative.” As a result, Dr. Feinstein’s inflation ribbon that incorporates a
large portion of the stock price decline on January 3, 2019 would inappropriately compensate




176
    Feinstein Merits Report, ¶ 137.
177
    Feinstein Merits Report, ¶ 139.
178
    Feinstein Merits Report, ¶ 141.
179
    Feinstein Merits Report, ¶ 145.
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investors for losses that were due to adverse developments that Apple experienced after
November 1, 2018 and, potentially, for other losses not causally linked to the alleged
misrepresentation by Mr. Cook that he “would not put China in that category.”


XII.       Examples to Illustrate Flaws and Errors in Dr. Feinstein’s Calculation of Inflation


119.       As discussed in Section X above, Dr. Feinstein’s analysis of Plaintiff’s alleged losses on
November 5, 2018, November 12, 2018, and January 3, 2019 caused by the alleged
misrepresentation is flawed and unreliable. Setting this aside, below I provide examples of what
would happen to Dr. Feinstein’s calculation of per share inflation if one were to use Dr.
Feinstein’s own methodology and adjust for the most glaring errors in his inappropriate
assumptions.
120.       Dr. Feinstein’s damages methodology for the January 2, 2019 alleged corrective
disclosure date apportions the stock price decline based on the revenue contribution of different
pieces of information. For the purposes of my illustrative examples, I have adopted Dr.
Feinstein’s assumption—that a stock price change in response to multiple pieces of information
can be apportioned proportionally to the estimated effect of each piece of information on the
expected revenue for the current quarter—in order to illustrate the impact of other flaws and
errors in Dr. Feinstein’s calculation of inflation.

           A.       November 5, 2018


121.       As I discuss above,180 on November 5, 2018, a Nikkei Asia article reported that Apple
suppliers were eliminating additional production capacity, and this information “signaled
disappointing demand for the new iPhone XR.” 181 In his damages analysis of November 5,
2018, Dr. Feinstein inappropriately attributes the entire residual stock price decline on this date




180
      See ¶ 67.
181
      “Apple cancels production boost for budget iPhone XR: sources,” Nikkei Asia, November 5, 2018.




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to the correction of the alleged misrepresentation. 182 In doing so, Dr. Feinstein fails to control
for the fact that the vast majority of Apple’s revenue, projected iPhone demand, and change in
projected iPhone demand came from regions outside of Greater China. 183
122.     In particular, Dr. Feinstein notes in his Merits Report that Greater China contributed
19.6% of Apple’s total net sales in FY18. 184 As I discuss above,185 this geographic breakdown is
(i) consistent with Apple’s November 1, 2018 forecast that 20% of FQ1’19 unbrickings for all
iPhone models would occur in Greater China; (ii) consistent with Greater China’s 21% share of
the reduction in iPhone XR forecasted unbrickings between the iPhone XR launch and the
earnings call on November 1, 2018; and (iii) higher than Greater China’s 14% share of the
reduction in all iPhone model forecasted unbrickings between the iPhone XR launch and the
earnings call on November 1, 2018.
123.     Assuming that the market interpreted the production cuts as conveying information about
Apple’s global expected revenue, and the market apportioned 19.6% of the revenue impact to
Greater China (equivalent to Greater China’s share of Apple’s global revenue), then apportioning
the stock price decline based on revenue contribution (consistent with what Dr. Feinstein does




182
    Feinstein Merits Report, ¶ 128.
183
    See ¶ 72.
184
    Feinstein Merits Report, ¶ 29.
185
    See ¶ 72.




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for January 3, 2019) results in $1.41 of the $7.17 residual price decline on November 5, 2018 (or
19.6%) being linked to Greater China.186, 187, 188

        B.       November 12, 2018


124.    As I discuss above,189 on November 12, 2018, a Wells Fargo analyst report stated that an
Apple supplier, Lumentum, had reduced guidance following a request by Apple to reduce
shipments, which Wells Fargo stated could reflect reduced iPhone demand. As I discuss for
November 5, 2018 (immediately above), the vast majority of Apple’s revenue, projected iPhone
demand, and change in projected iPhone demand came from outside of Greater China, and Dr.
Feinstein fails to take this into account in his damages analysis.




186
    Feinstein Merits Report, Exhibit 8.
187
    Apportioning the price decline by Apple’s November 1, 2018 forecast that 20% of FQ1’19 unbrickings for all
iPhone models would occur in Greater China would lead to an assumption that only $1.42 of the $7.17 residual price
decline on November 5, 2018 could be causally linked to Apple’s performance in Greater China. Similarly,
apportioning the price decline by Greater China’s 21% share of the reduction in iPhone XR forecasted unbrickings
between the iPhone XR launch and the earnings call would lead to an assumption that only $1.49 of the $7.17
residual price decline on November 5, 2018 could be causally linked to Apple’s performance in Greater China.
Apportioning the price decline by Greater China’s 14% share of the reduction in forecasted unbrickings for all
iPhone models between the iPhone XR launch and the earnings call would lead to an assumption that only $1.01 of
the $7.17 residual price decline on November 5, 2018 could be causally linked to Apple’s performance in Greater
China.
188
    This approach assumes the market would have been able to link the but-for disclosure that Apple was facing
“pressure” in Greater China as of November 1, 2018 to the portion of excess production cuts attributable to Greater
China.
189
    See ¶ 76. See also “AAPL: Lumentum Cuts Revenue Outlook by 17%+ (Midpoint) on Apple Order Cuts,”
Wells Fargo, November 12, 2018.




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125.    Using the same assumptions and methodology as for November 5, 2018 above results in
$0.94 of the $4.82 residual price decline on November 12, 2018 (or 19.6%) being linked to
Greater China.190, 191, 192

        C.       January 3, 2019


126.    As I discuss above, while Dr. Feinstein purports to account for the stock price impact of
disclosures unrelated to Greater China on January 3, 2019, 193 he fails to account for new
information that Apple learned after November 1, 2018 that contributed to its actual FQ1’19
revenue missing the internal “likely” forecast from November 1, 2018 by over $6 billion. 194 By
failing to recognize in his inflation calculation that the vast majority of the revenue surprise in
FQ1’19 was based on events that transpired after November 1, 2018, Dr. Feinstein
inappropriately assumes that Apple investors would have had a crystal ball on November 1, 2018
that would have allowed them to predict events that transpired later in November and December
of 2018. Below I provide an illustrative example of adjusting Dr. Feinstein’s inflation
calculation on January 3, 2019 to correct for this key error.
127.    In the illustrative example, I assume that Apple would have provided the same guidance
range of $89 billion to $93 billion that it provided in the actual world, but would have




190
    Feinstein Merits Report, Exhibit 8.
191
    Apportioning the price decline by Apple’s November 1, 2018 forecast that 20% of FQ1’19 unbrickings for all
iPhone models would occur in Greater China would lead to an assumption that only $0.95 of the $4.82 residual price
decline on November 12, 2018 could be causally linked to Apple’s performance in Greater China. Similarly,
apportioning the price decline by Greater China’s 21% share of the reduction in iPhone XR forecasted unbrickings
between the iPhone XR launch and the earnings call would lead to an assumption that only $1.00 of the $4.82
residual price decline on November 12, 2018 could be causally linked to Apple’s performance in Greater China.
Apportioning the price decline by Greater China’s 14% share of the reduction in forecasted unbrickings for all
iPhone models between the iPhone XR launch and the earnings call would lead to an assumption that only $0.68 of
the $4.82 residual price decline on November 12, 2018 could be causally linked to Apple’s performance in Greater
China.
192
    Consistent with analysis for November 5, 2018, this approach assumes that the market would have been able to
link the but-for disclosure that Apple was facing “pressure” in Greater China as of November 1, 2018 to the portion
of excess production cuts attributable to Greater China.
193
    See ¶ 98.
194
    See ¶ 87–91.




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additionally stated that it was facing “pressure” in Greater China (which it had built into the
guidance range). I also assume that it would not reveal any other information relative to what it
disclosed in the actual world. Dr. Feinstein provides no framework and no analysis for
quantifying how much Apple’s stock price would have fallen, if at all, in response to this but-for
disclosure. The market ended up forming a consensus forecast of FQ1’19 revenue of $92.088
billion following the November 1, 2018 earnings call, which was $1.088 billion above the $91
billion midpoint of the guidance range. 195 Neither Dr. Feinstein nor Dr. Shenkar presents any
analysis demonstrating that this over-optimism reflected the market’s assessment of Apple’s
business in Greater China rather than the market’s assessment of Apple’s business overall.
128.    As I discuss above, Dr. Feinstein notes in his report that Greater China contributed 19.6%
of Apple’s total net sales in FY18. 196 Therefore, I assume that 19.6% of the market’s over-
optimism in forecasting FQ1’19 revenue relative to the guidance midpoint as of November 1,
2018 was attributable to the alleged misrepresentation by Mr. Cook that he “would not put China
in that category.” In other words, had Mr. Cook made a statement on the earnings call on
November 1, 2018 that Apple was facing “pressure” in Greater China, the consensus forecast
would have declined by $0.213 billion,197 from $92.088 billion to $91.874 billion as of
November 1, 2018.
129.    The actual consensus forecast of FQ1’19 revenue declined by $0.981 billion from
November 1, 2018 to January 2, 2019, from $92.088 billion to $91.107 billion. 198 In order to be




195
    See ¶ 109.
196
    See ¶ 122.
197
    $0.213 billion = $1.088 billion * 19.6%.
198
    The mean FQ1’19 revenue consensus forecast of $91.107 billion includes forecasts from analyst reports tracked
by Apple, and is supplemented with analyst reports listed in my Appendix C that were released after the November
1, 2018 earnings call and before January 2, 2019. When multiple reports were issued by the same contributor, only
the latest forecast is included in the consensus forecast. Apple calculated that the analyst revenue consensus was
$91.038 billion based on the mean of 36 contributors. (APL-SECLIT_00284273). As I discuss in fn. 170, I/B/E/S
consensus forecast is updated monthly. The most recent mean I/B/E/S analyst consensus prior to the January 2,
2019 alleged corrective disclosure date was $91.495 billion based on 32 contributors (consensus as of December 20,
2018). Based on my review of the I/B/E/S data, it appears that the I/B/E/S FQ1’19 revenue consensus includes a
forecast from Elazar Advisors of $100.929 billion that is stale and inconsistent with the forecast provided in the
Elazar Advisors report of $91.000 billion on December 25, 2018. (“Apple AAPL: Neutral Rating,” Elazar




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conservative, I assume in this illustrative example that none of this decline reflected dissipation
of analysts’ over-optimism of $0.213 billion attributable to Mr. Cook’s statement on November
1, 2018 that he “would not put China in that category.”
130.     The consensus forecast of FQ1’19 revenue declined by $7.068 billion, from $91.107
billion to $84.039 billion following Apple’s January 2, 2019 disclosure. 199 In this illustrative
example, of the $7.068 billion revision of market expectations of FQ1’19 revenue, only $0.213
billion (or 3.02%) would be due to the alleged misrepresentation. The remaining 96.98% of the
revision was due to new information learned following the November 1, 2018 earnings call that
surprised both Apple and the market.
131.     Under Dr. Feinstein’s apportionment of stock price drop based on revenue contribution,
$0.32 of the $10.74 residual price decline on January 3, 2019 (3.02%) would be causally linked
to the alleged misrepresentation as of November 1, 2018 that Mr. Cook “would not put China in
that category,” instead of the $8.13 stock price decline calculated by Dr. Feinstein. 200, 201, 202




Advisors, December 25, 2018, p. 2). Additionally, Apple’s own consensus calculation excludes the Elazar forecast
from their calculation (APL_SECLIT_00284273).
199
    The mean FQ1’19 revenue consensus forecast of $84.039 billion includes forecasts from analyst reports tracked
by Apple, and is supplemented with analyst reports listed in my Appendix C that were released after the January 2,
2019 alleged corrective disclosure date and before January 8, 2019. When multiple reports were issued by the same
contributor, only the latest forecast is included in the consensus forecast. Apple calculated that the consensus
forecast of FQ1’19 revenue was $84.020 billion based on the mean of 33 contributors. (APL_SECLIT_00593593).
As I discuss in fn. 170, I/B/E/S consensus forecast is updated monthly. The first mean I/B/E/S consensus forecast
following the January 2, 2019 alleged corrective disclosure date was $84.038 billion based on 30 contributors
(consensus as of January 17, 2019).
200
    Feinstein Merits Report, Exhibits 8, 9.
201
    In this illustrative example, I have followed Dr. Feinstein’s “backcasting” methodology in order to isolate the
part of the stock price decline on January 3, 2019 that is causally linked to Mr. Cook’s statement on November 1,
2018 that he “would not put China in that category.” (Feinstein Merits Report, ¶ 149). I note that the November 1,
2018 earnings announcement contains other information, in addition to Mr. Cook’s statement and the announcement
of Apple’s revenue guidance for FQ1’19. Importantly, Apple disclosed that it would stop reporting unit sales data.
A Guggenheim analyst report stated that “[s]urprisingly, Apple says it will stop reporting UNIT numbers going
forward, which hit the stock after hours, and we think investors will dislike it as it could foreshadow trying to hide
unit declines.” (“AAPL – May Want its Growth-via-ASP Strategy to be Less Obvious,” Guggenheim, November 1,
2018, p. 1). As discussed in ¶ 65, if multiple pieces of information are revealed simultaneously, an event study
regression captures the impact of all of that information, and does not allow a researcher to separate the impact of
one piece of information from another.
202
    Alternatively, the market’s consensus forecast of FQ1’19 revenue of $92.088 billion was $1.410 billion above
Apple’s “likely” forecast of $90.678 billion. If one were to assume that 19.6% of the market’s over-optimism in
forecasting FQ1’19 revenue relative to Apple’s “likely” forecast as of November 1, 2018 was attributable to the




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         D.       Inflation Assuming the November 5, 2018 Disclosure Fully Revealed That
                  Apple Was Facing “Pressure” in Greater China


132.     As I discuss in Section IX above, if Plaintiff’s theory of harm is that Apple allegedly
misrepresented that it was not facing any “pressure” in Greater China, then according to
Plaintiff’s theory, Mr. Cook’s statement could not have caused Plaintiff’s alleged losses after
November 5, 2018. If Plaintiff prevails in establishing that the November 5, 2018 disclosure
revealed that Apple was facing “pressure” in Greater China as of November 1, 2018, then
inflation would be limited to the price decline on November 5, 2018 that can be causally linked
to Apple’s performance in Greater China, which is $1.41 in the illustrative example above. 203
Under this theory, Mr. Cook’s statement would not cause Plaintiff’s alleged losses after
November 5, 2018.
133.     If Plaintiff were to fail to show that the market learned on November 5, 2018 that Apple
was facing “pressure” in Greater China as of November 1, 2018 but were able to show that the
market learned on November 12, 2018 that Apple was facing “pressure,” the same logic would
apply, but inflation would be limited to the price decline on November 12, 2018 that can be
causally linked to Apple’s performance in Greater China, which is $0.94 in the illustrative
example above.204




alleged misrepresentation by Mr. Cook that he “would not put China in that category,” then had Mr. Cook made a
statement on the earnings call on November 1, 2018 that Apple was facing “pressure” in Greater China, the
consensus forecast would have declined by $0.276 billion, from $92.088 billion to $91.830 billion as of November
1, 2018. In this illustrative example, of the $7.068 billion revision of market expectations of FQ1’19 revenue, only
$0.276 billion (or 3.91%) would be due to the alleged misrepresentation. Under these assumptions and Dr.
Feinstein’s apportionment of stock price drop based on revenue contribution, $0.42 of the $10.74 residual price
decline on January 3, 2019 (3.91%) would be causally linked to the alleged misrepresentation as of November 1,
2018 that Mr. Cook “would not put China in that category,” instead of the $8.13 stock price decline calculated by
Dr. Feinstein.
203
    See Section XII.A.
204
    Additionally, if Plaintiff were to fail to show that the market learned on November 5, 2018 or November 12,
2018 that Apple was facing “pressure” in Greater China as of November 1, 2018, but was able to show that the
market learned for the first time only on January 2, 2019 that Apple was facing “pressure” in Greater China as of
November 1, 2018, the same methodology would apply, but inflation would be limited to the price decline on
January 3, 2019 that can be causally linked to the alleged misrepresentation that Mr. Cook “would not put China in
that category,” which is $0.32 in the illustrative example in Section XII.C above.




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XIII. Options Damages


134.     As described in the Grenadier Class Certification Report, call and put option values
depend on several factors, including the underlying stock price, the volatility of the underlying
stock price, and the option terms (strike price and time to maturity). 205 All else equal, the value
of a call option increases and the value of a put option decreases as the stock price increases. 206
Because of this relationship between option values and the underlying stock price, Dr. Feinstein
asserts that if the underlying stock price was inflated, this implies that prices of call options
would also be artificially inflated, while prices of put options would be artificially depressed. 207
135.     To measure “artificial inflation” in the Apple call options and “artificial price depression”
in the Apple put options, Dr. Feinstein discusses undertaking the following steps.
              a. Dr. Feinstein proposes using his estimate of the per share inflation in Apple stock
                  as a starting point in his calculation. Then he proposes calculating the “corrected
                  stock price” for Apple on each day of the Class Period “by subtracting the
                  artificial inflation [that he calculated for Apple stock as discussed in Section XI
                  above] from the observed inflated market stock price.” 208
              b. He would then input this “corrected stock price” into an option pricing model to
                  “reprice [each] respective option.”209 Specifically, he proposes using a “dividend-
                  adjusted binomial American option pricing model (the ‘Binomial model’).” 210




205
    See Grenadier Class Certification Report, ¶ 159. Option values also depend on the risk-free rate and any
dividends expected over the life of the options.
206
    Grenadier Class Certification Report, ¶ 157.
207
    Specifically, he states that “[b]y inflating the stock price, the misrepresentation and omissions inflated the call
option prices. When the corrective disclosures dissipated artificial inflation from the stock price, the same
corrective disclosures consequently caused the call option prices to decline, thereby resulting in option investor
losses.” Similarly for put options, he asserts that “[b]y inflating the stock price, the misrepresentation and
omissions artificially depressed put option prices. At depressed put option prices, writers received less than fair
value when the puts were written. The corrective disclosures that dissipated the artificial inflation in the stock price,
caused the put option prices to rise, requiring put option writers to pay more to close out or settle their written put
option positions.” (Feinstein Merits Report, ¶¶ 161–171).
208
    Feinstein Merits Report, ¶ 174.
209
    Feinstein Merits Report, ¶ 174.
210
    Feinstein Merits Report, ¶¶ 173–174.




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              c. As noted above, option values depend on other factors in addition to the stock
                  price, including stock price volatility. Dr. Feinstein proposes using a measure of
                  volatility that is inferred from the actual “option price observed in the market.” 211
                  To estimate this volatility, which is called the “implied volatility,” Dr. Feinstein
                  proposes using the Binomial model and solving for the implied volatility that is
                  consistent with the “option price observed in the market” and all other necessary
                  pricing parameters.212 Using this method, the implied volatility can vary for
                  different option series that have different option types (call or put), how far the
                  strike price of the option is from the exercise price, and time to maturity.
              d. Call option inflation and put option deflation on a given day would then be
                  calculated as the difference between the actual option price and a hypothetical
                  option price calculated using the but-for stock price and the implied volatility
                  described above.213, 214
136.     Below, I show why Dr. Feinstein’s methodology for calculating inflation and damages
for Apple options is flawed and unreliable. 215 First, as I discuss in Section XIII.A, Dr.
Feinstein’s methodology is based on his flawed and unreliable analysis of inflation in Apple’s
stock price. Therefore, all the flaws and errors in his loss causation and damages analysis for




211
    Feinstein Merits Report, ¶¶ 175, 180. More specifically, he states that the “volatility variable for the model can
be solved for as an implied volatility using the same Binomial model with observable inputs for stock price, strike
price, time to expiration, interest rate, and the option price. The implied volatility is estimated by iteratively
adjusting the volatility input for the Binomial model until the option price determined by the formula is equal to the
option price observed in the market.” (Feinstein Merits Report, ¶ 175).
212
    While Dr. Feinstein uses the midpoint of the reported bid and ask prices in his “example of the option damages
computation” (Feinstein Merits Report, ¶ 176, fn. 112), it is not clear what price Dr. Feinstein is referring to when
he states he will use the “option price observed in the market.” In particular, it is not clear whether he proposes
using actual transaction prices, the end of day mid quote (midpoint between bid and ask quotes), or some other
measure. By contrast, Dr. Chance claims he will use “the price paid by the option buyer” and the “price at which the
option traded” in his proposed methodology. (Chance Report, ¶ 118).
213
    Feinstein Merits Report, ¶ 181.
214
    As with the option “price” used to calculate implied volatility, Dr. Feinstein is not clear on what option “price” he
will use when comparing the “repriced” option to the “actual [] option price.” (See Feinstein Report, ¶ 181).
215
    In addition to the concerns outlined below, Dr. Feinstein also fails to account for potentially offsetting gains for
some shareholders. As explained in the Grenadier Class Certification report, it is not uncommon for investors to
trade options in complex strategies and use options for hedging. As a result, investors may hold a mix of options
that may be both damaged and benefited from any alleged inflation. Any damages methodology must explain how it
will account for investors with multiple, potentially offsetting, positions in the stock and options, which requires
assessing an investor’s total exposure across all positions that form a particular trading strategy and calculating
damages based on that net position. (Grenadier Class Certification Report, fn. 281).
                                                                                                                   Page 58


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Apple stock outlined above also apply to his assessment of Apple options. Second, as I discuss
in Section XIII.B, Dr. Feinstein’s methodology fails to provide a means to determine damages
for investors who may have traded different Apple options or may not have traded Apple options
at all in the but-for world. Finally, as I discuss in Section XIII.C, Dr. Feinstein’s methodology
fails to adjust the implied volatilities used for pricing different Apple option series on different
dates to take into account the hypothetical but-for disclosure.

           A.       Dr. Feinstein’s Methodology Is Based on His Flawed and Unreliable Analysis
                    of Inflation in Apple’s Stock Price


137.       As discussed above in Sections X and XI, Dr. Feinstein has failed to reliably demonstrate
that the losses that he attributes to the alleged misrepresentation were caused by the alleged
misrepresentation. He has also failed to present scientific and reliable estimates of stock price
inflation throughout the Class Period.
138.       Because Dr. Feinstein’s proposed measure of inflation in the prices of Apple call options
(and deflation in the prices of Apple put options) is derived from his estimate of inflation in
Apple’s stock price,216 his failure to reliably measure inflation, if any, in the stock price also
means that he has failed to demonstrate that the Apple call options traded at inflated prices (and
Apple put options traded at deflated prices), and consequently that investors in Apple options
were damaged.

           B.       Dr. Feinstein Fails to Provide a Methodology to Determine Damages for
                    Investors Who May Have Traded Different Apple Options or May Not Have
                    Traded Apple Options at All in the But-For World


139.       Dr. Feinstein’s proposed damages methodology for the Apple options assumes that
option holders would have chosen to trade the same specific option series (i.e., would have
traded the option with the same type (call vs. put), strike price, and maturity date) regardless of




216
      Feinstein Merits Report, ¶ 174.




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how inflation may have impacted the investor’s preference for that option or the suitability of
that option for the investor’s strategy. However, such an assumption ignores the testimony by
Plaintiff’s options expert, Dr. Chance, that investors choose which options to trade based on
option characteristics such as the strike price relative to the underlying stock price, which would
have been different following the but-for disclosure, according to Plaintiff’s allegations. 217
140.     For example, Dr. Feinstein presents an example options damages calculation in which the
investor is assumed to purchase Apple call option contracts with a strike price of $200 and
maturity date of January 18, 2019. Dr. Feinstein’s proposed damages calculation assumes that
the investor would have purchased the same option contracts in the but-for world. 218 However,
he provides no analysis demonstrating that the investor would in fact have purchased the same
option, rather than purchasing a different option (e.g., one with a lower strike price) or choosing
not to trade the Apple options at all.
141.     It is important to assess whether investors would have traded in the same option in the
but-for world because option characteristics, such as the strike price relative to the stock price,
can be a key factor in an investor’s decision regarding which option series to trade. Dr. Chance
asserts in his report:
          Most options trading volume comes from the near-the-money short-term options.
          … [D]eep out-of-the-money options and deep-in-the-money options have little
          speculative value and do not trade in heavy volume. Betting on the former is like
          betting on a team in a sporting event that is a heavy underdog. It is a very long
          shot. Betting on the latter is like betting on a team that is heavily favored. The bet
          will be costly and it will not pay much of a return. The game is far more
          interesting when the teams are more evenly matched. That is the nature of options
          as well. And that is why near or close to the money options will trade more
          heavily.219




217
    Chance Report, ¶¶ 92, 95.
218
    Feinstein Merits Report, ¶¶ 176, 184, 186.
219
    Chance Report, ¶¶ 92, 95.




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According to Dr. Chance, even in the simple situation where an investor is only purchasing a call
option, the choice of strike price “is not easy and depends on how confident the call buyer is
about the market outlook.”220 Option investors can also undertake more complicated options
strategies, such as purchasing both a call and a put option with the same strike price to take
advantage of large changes in the stock price. 221 The strike price is often chosen to be near the
current stock price, which would again have been different in the but-for world. 222

142.     Dr. Chance stated at deposition that an investor might have bought a different option had
the stock not been inflated:
          [Q] But isn’t that what you’re doing here you said had the [market] price of the
          stock not been inflated he might still have bought the option? [A] Well, I said he
          might I didn’t say he would he might have bought that option he might have
          bought a different option you can’t say exactly what person would or would not do
          in fact on a different day he might do something entirely differently it just depends
          on how he feels.223

143.     Thus, Dr. Feinstein’s proposed damages methodology, which fails to account for the
possibility that investors may have traded in other options (or not at all) in the but-for world,
cannot be used to reliably estimate damages for the Apple options.

         C.       Dr. Feinstein’s Methodology for Calculating Option Inflation Fails to
                  Reliably Account for Any Changes in Implied Volatilities That Would Have
                  Occurred Following the Hypothetical But-For Disclosure


144.     Dr. Feinstein’s calculation of inflation for the Apple options is flawed and unreliable
because he fails to analyze whether the implied volatilities—a key determinant of the value of




220
    Chance, Don M. and Robert Brooks, An Introduction to Derivatives and Risk Management, 10th ed., Cengage,
Boston, MA, 2016 (“Chance and Brooks”), p. 209.
221
    This option strategy is called a “straddle.” See, e.g., Hull, John C., Options, Futures, and other Derivatives, 8th
ed., Prentice Hall, Hoboken, NJ, 2012 (“Hull”), pp. 246–247.
222
    See, e.g., Hull, p. 247.
223
    Deposition of Don M. Chance (Rough Draft), June 8, 2022 (“Chance Deposition”) (164:17–164:25).




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the options—would have changed as a result of the hypothetical but-for disclosure. 224 Instead,
Dr. Feinstein assumes without providing any basis that the appropriate implied volatility to use
in calculating inflation for each option on each date in the Class Period would have been the
same as the implied volatility derived from the actual option prices in the market. 225 This
assumption is unsupported and contradicts Dr. Feinstein’s own previous statements.
145.     In particular, Dr. Feinstein claims in his Class Certification Reply Report that he “ha[s]
not yet confirmed Dr. Grenadier’s conjecture [that implied volatilities may have changed with a
but-for disclosure] one way or the other. However, if evidence of changing volatility under full
disclosure is encountered during the implementation of the out-of-pocket damage
methodology, that evidence would inform what volatility level to use.”226 In his Merits Report,
Dr. Feinstein has failed to address the issue of changing but-for implied volatilities altogether
and has instead assumed that the implied volatilities would have remained unchanged in the but-
for world.
146.     This assumption is particularly surprising given that Dr. Feinstein provides an example of
an option series whose implied volatility did change over time. Specifically, in Dr. Feinstein’s
example calculation of inflation, the implied volatility Dr. Feinstein uses to calculate the but-for
prices for one option (a call option with a strike price of $200 and an expiration date of January




224
    Dr. Chance stated in his deposition that implied volatilities could change in response to the but-for disclosure:
“[Q] Okay. Do you agree that it’s possible that Apple's stock price volatility could have changed in response to the
but-for disclosure? [A] It could have changed and the model can accommodate that.” (Chance Deposition (171:3–
171:7)). I note that Dr. Chance is silent in his report and is unclear in his deposition regarding how “the model can
accommodate that.”
225
    Feinstein Merits Report, ¶¶ 175, 180, 184.
226
    Feinstein Class Certification Reply Report, ¶ 66, emphasis added. Dr. Feinstein further states in his Class
Certification Reply Report that “one can use the observable implied volatilities.… Alternatively, one can apply a
volatility forecasting model to replicate what investors would have forecasted.” (Feinstein Class Certification Reply
Report, ¶ 67). However, in his Merits Report, Dr. Feinstein has failed to demonstrate that any of these approaches
would reliably estimate the but-for implied volatility for each Apple option. Moreover, to the extent that Dr.
Feinstein proposes to use a “volatility forecasting model,” he has failed to explain what specific model he would
use, how he would implement the forecasting process, and whether the model would provide a reliable measure of
the but-for volatility for each Apple option on each day of the Class Period.




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18, 2019) increases from 27.47% on November 2, 2018 to 57.52% on January 3, 2019, showing
that the implied volatility changed over time as new information came to the market. 227
147.     It is possible that the but-for disclosure that Apple was facing “pressure” in Greater China
may have led the market to be more uncertain about the value of Apple stock, which could lead
to the market perceiving higher implied volatilities as a result of the but-for disclosure. Indeed,
under Dr. Feinstein’s methodology for calculating implied volatilities, the implied volatility of
the particular call option described above increased by 15 percentage points between January 2,
2019 and January 3, 2019.228 Dr. Feinstein has not presented any analysis that the implied
volatility of this option would not also have changed in response to the but-for disclosure.
148.      Importantly, as explained above, Dr. Feinstein’s methodology for deriving the implied
volatilities from options prices can potentially yield a different implied volatility for each
combination of option type (call/put), strike price, and option expiration. 229 That is because
although Apple’s underlying stock price has a single volatility, Dr. Feinstein calculates the
implied volatility for each option using the Binomial model to match the observed option price.
Empirically, this can lead to different implied volatilities for different option series and even for
different transactions in the same option series on a given day. To provide an illustration of the
range of implied volatilities for just one date, Exhibit 3 shows that, using Dr. Feinstein’s
methodology, the implied volatilities for call options with a maturity date of January 18, 2019
were 42.72% at a strike price of $140 and 38.11% at a strike price of $150 on January 3, 2019.
For call options with strike prices of $155 and $190 and a maturity date of February 15, 2019,
the implied volatilities were 37.51% and 39.78% respectively, on January 3, 2019.
149.     Dr. Feinstein would need to reliably measure the impact, if any, of the hypothetical but-
for disclosure on the implied volatility of each of the Apple option series at each point in time.
Dr. Feinstein has not provided a methodology to do this. Instead, he has assumed without




227
    Feinstein Merits Report, ¶¶ 176, 180, 184.
228
    Under Dr. Feinstein’s methodology, the implied volatility for the Apple call option with a strike price of $200
and an expiration date of January 18, 2019 is 42.46% on January 2, 2019 and 57.52% on January 3, 2019.
229
    This is called the “volatility surface” and captures the notion that implied volatility derived from option pricing
models can vary by the option’s strike price and time to expiration. (See, e.g., Hull, pp. 416–417).
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providing any analysis that the but-for implied volatility equals the actual implied volatility of
each option for each day of the Class Period.
150.     A further complication in determining but-for implied volatilities is that the implied
volatilities for individual options do not necessarily change by the same amount—or even in the
same direction—following the release of new information. If Dr. Feinstein was to attempt to
control for changes in implied volatilities in the but-for world, he would need to account for this
fact.230 Exhibit 3 provides examples of changes in implied volatilities of different Apple options
following the last alleged corrective disclosure on January 2, 2019 using Dr. Feinstein’s data and
methodology. Notably, the implied volatilities of some options with the same strike price and
option type (call or put) but different maturities increased while others decreased. The same is
true for options with different option types, but the same strike price and maturity, and options
with different strike prices, but the same option type and maturity. For example, following
January 2, 2019, the implied volatility of a call option with a strike price of $150 and maturity of
January 18, 2019 decreased by 0.79%, while the implied volatility of a call option with the same
strike price and a maturity of January 25, 2019 increased by 4.73%. As another example,
following January 2, 2019, the implied volatility of a call option with a strike price of $155 and
maturity date of February 15, 2019 decreased by 1.59%, while the implied volatility of a call
option with a strike price of $190 and the same maturity increased by 5.37%. Dr. Feinstein has
neither explained why implied volatilities moved in different directions nor taken into account
changes in implied volatilities in the but-for world. 231
151.     Because Dr. Feinstein fails to analyze possible changes in the implied volatilities of
Apple options in the but-for world relative to the actual world, his calculation of inflation and




230
    Dr. Feinstein would also need to isolate only changes in implied volatilities that are causally linked to the alleged
misrepresentation. Neither Dr. Feinstein nor Dr. Chance proposes a methodology to perform this required analysis.
231
    My concerns about potential changes in implied volatility on estimated damages are not purely theoretical. The
last three columns of Exhibit 3 show (i) the actual option price as of January 2, 2019; (ii) the option price
recalculated based on the stock price as of January 2, 2019 and the implied volatility as of January 3, 2019; and (iii)
the differences between these two option prices. All differences are measurable and some are large. For example,
the option price of a call option with a strike price of $150 and maturity date of January 25, 2019 increases by 6%
when using implied volatility as of January 3, 2019 instead of the implied volatility as of January 2, 2019.




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damages for the Apple options is flawed and unreliable. If the implied volatilities of Apple call
options were to increase as a result of the hypothetical but-for disclosure, Dr. Feinstein’s
calculation, which assumes no change in the implied volatilities from those actually observed in
the market, would overstate inflation for investors who purchased these call options. This is
because an increase in volatility increases the call option price (all else equal), which would
partially offset the decrease in call option value due to the stock price decline. 232 Conversely, if
the implied volatilities of Apple put options were to decrease as a result of the hypothetical but-
for disclosure, Dr. Feinstein’s calculation would overstate inflation for investors who sold these
put options.233 In other words, unless the appropriate but-for implied volatility is specified for
each option, inflation, if any, will be incorrectly measured for all investors in Apple options and
may be overstated, even if it were the case that Dr. Feinstein reliably calculated inflation in
Apple’s stock price.
152.     As such, Dr. Feinstein fails to propose a way to reliably calculate inflation in the prices of
Apple options.


                                                                           Executed this 10th of June, 2022




                                                                           _____________________________
                                                                                Steven Grenadier




232
   See, e.g., Hull, pp. 215–216.
233
   This is because the effect of the decrease in volatility would partially offset the effect of the stock price decline
on the put option’s price. (See, e.g., Hull, pp. 215–216).
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                                                                          APPENDIX A


                                  Curriculum Vitae
                                  Steven Grenadier
Graduate School of Business
Stanford University
Tel: (650) 725-0706
Email: sgren@stanford.edu

CURRENT POSITIONS
    William F. Sharpe Professor of Financial Economics, Graduate School of Business,
    Stanford University

FIELDS OF SPECIALIZATION
     Corporate Finance
     Asset Pricing
     Portfolio Management
     Options
     Real Estate

DOCTORAL STUDIES
    Harvard Business School/Harvard Graduate School of Arts and Science
          Ph.D. in Business Economics, November 1992
          Concentration in Capital Markets and Corporate Finance

      Dissertation: Real Estate Markets
             Committee Chairman: Robert C. Merton

UNDERGRADUATE EDUCATION
    University of California at Berkeley
          B.S. 1987 - Summa cum laude

HONORS
    The article “The Strategic Exercise of Options: Development Cascades and Overbuilding
    in Real Estate Markets,” was nominated for the Smith Breeden Prize of the Journal of
    Finance in 1997

      1994 Best Paper Award from the American Real Estate and Urban Economics
      Association and the American Institute of Individual Investors

      1993 Best Dissertation Award from the American Real Estate and Urban Economics
      Association

      National Doctoral Fellowship Recipient: American Assembly of Collegiate Schools of
      Business

      Phi Beta Kappa



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PUBLICATIONS
     Grenadier, Steven, Lin William Cong and Yunzhi Hu (2020), “Dynamic Intervention and
     Informational Linkages,” Journal of Financial Economics, 135 (1), 1-15.

      Grenadier, Steven and Samuel Antill (2019), “Optimal Capital Structure and Bankruptcy
      Choice: Dynamic Bargaining vs Liquidation,” Journal of Financial Economics, 133 (1),
      198-224.

      Grenadier, Steven, Andrey Malenko and Nadya Malenko (2016), “Timing Decisions in
      Organizations: Communication and Authority in a Dynamic Environment,” American
      Economic Review, 106(9), 2552-2581.

      Grenadier, Steven, Ilya Strebulaev, and Andrey Malenko (2013), “Investment Busts,
      Reputation, and the Temptation to Blend in with the Crowd,” Journal of Financial
      Economics, 111(1), 137-157.

      Grenadier, Steven and Andrey Malenko (2011), “Real Options Signaling Games with
      Applications to Corporate Finance,” Review of Financial Studies, 24(12), 3993-4036.

      Bekaert, Geert, Eric Engstrom, and Steven Grenadier (2010), “Stock and Bond Returns
      with Moody Investors,” Journal of Empirical Finance, 17 (5), 867-894.

      Grenadier, Steven and Andrey Malenko (2010), “Irreversible Investment in a Bayesian
      Framework: The Case of Distinguishing Between Temporary and Permanent Shocks,”
      Journal of Finance, 65 (5), 1949-1986.

      Grenadier, Steven and Neng Wang (2007), “Investment Under Uncertainty and Time-
      Inconsistent Preferences,” Journal of Financial Economics, 84 (1), 2-39 (lead article).

      Grenadier, Steven and Neng Wang (2005), “Investment Timing, Agency and
      Information,” Journal of Financial Economics, 75 (3), 493-533 (lead article).

      Grenadier, Steven (2005), “An Equilibrium Analysis of Real Estate Leases,” Journal of
      Business, 78 (4), 1173-1214.

      Grenadier, Steven (2002), “Option Exercise Games: An Application to the Equilibrium
      Investment Strategies of Firms,” Review of Financial Studies, 15 (3), 691-721 (lead
      article).

      Grenadier, Steven (2000), “Option Exercise Games: The Intersection of Real Options
      and Game Theory”, Journal of Applied Corporate Finance, 13 (2), 99-107.

      Grenadier, Steven (2000), “Game Choices: The Intersection of Real Options and Game
      Theory,” Editor, Risk Books, London.




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      Michael J. Brennan and Lenos Trigeorgis, eds, Project Flexibility, Agency, and
      Competition: New Developments in the Theory and Applications of Real Options,
      Oxford University Press, 275-296.

      Grenadier, Steven (1999) “Information Revelation Through Option Exercise,” Review of
      Financial Studies, 12 (1), 95-130.

      Grenadier, Steven and Allen Weiss (1997), “Investment in Technological Innovations:
      An Option Pricing Approach”, Journal of Financial Economics, 44 (3), 397-416.

      Grenadier, Steven (1996), “The Strategic Exercise of Options: Development Cascades
      and Overbuilding in Real Estate Markets,” Journal of Finance, 51 (5), 1653-1680.

      Grenadier, Steven (1996), “Leasing and Credit Risk,” Journal of Financial Economics,
      42 (3), 333-364.

      Grenadier, Steven (1995), “Valuing Lease Contracts: A Real-Options Approach,”
      Journal of Financial Economics, 38 (3), 297-331.

      Grenadier, Steven (1995), “The Persistence of Real Estate Cycles,” Journal of Real
      Estate Finance and Economics, 10 (2), 95-119.

      Grenadier, Steven (1995), “Flexibility and Tenant Mix in Real Estate Projects,” Journal
      of Urban Economics, 38 (3), 357-378.

      Grenadier, Steven (1995), “Local and National Determinants of Office Vacancies,”
      Journal of Urban Economics, 37 (1), 57-71.

      Grenadier, Steven and Brian Hall (1996), “Risk-Based Capital Standards and the
      Riskiness of Bank Portfolios: Credit and Factor Risks,” Regional Science and Urban
      Economics, 26 (June), 433-464.

WORKING PAPERS
    “Capital budgeting and Real Options: The Case of Concealed Investment Projects,” with
    Andrey Malenko.

      “Sandbagging Real Options,” with William Cong.

EDITORIAL RESPONSIBILITIES
     Editor, Journal of Real Estate Finance and Economics, 1996-
     Associate Editor, Journal of Economic Dynamics and Control, 2003-2010

PROFESSIONAL ACTIVITIES
    Chairman of the Finance Department, Graduate School of Business, Stanford University:
          2003-2006, 2011-2019




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       Trustee of AQR Funds: 2008-2011
       Trustee of E*Trade Funds: 1999-2009
       Senior Consultant: Financial Engines, Inc.: 1997-2019
       Trustee of Nicholas Applegate Institutional Funds: 2007-2010
       Member of the Stanford University Retirement Program Investment Committee, 2005-
              2011
       Consultant to Applied Materials
       Consultant to Shell Capital
       Consultant to Zevenbergen Capital

TEACHING EXPERIENCE
    Private Equity & Investment Seminar: 2018-
    Investment Management and Entrepreneurial Finance: 2018-
    Modeling for Investment Management: 2009-
    Critical Analytical Thinking: 2010-2012
    Portfolio Management: 1992-2006
    Essentials of Real Estate Investment: 1994-2009
    Foundations of Financial Economics: 1995-1997, 2006-
    Finance Core: 1993

PRESENTATIONS
     Brigham Young University
     Carnegie Mellon University
     Columbia University (2 seminars)
     Harvard Business School (2 seminars)
     Massachusetts Institute of Technology
     Northwestern University (2 seminars)
     Ohio State University
     Southern Methodist University
     Stanford University
     University of British Columbia (2 seminars)
     University of California at Berkeley (3 seminars)
     University of California at Los Angeles (3 seminars)
     University of Chicago (2 seminars)
     University of Connecticut (3 seminars)
     University of Illinois
     University of Minnesota
     University of Oregon
     University of Pennsylvania (3 seminars)
     University of Rochester
     University of Southern California
     University of Texas at Austin
     University of Utah
     University of Wisconsin (2 seminars)
     Yale University (2 seminars)




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                                    Appendix B
                                 Steven Grenadier
                      Prior Testimony in Previous Four Years

Mary Bell, Janice Grider, Cindy Prokish, John A. Hoffman, and Pamela M. Leinonen v. ATH Holding
Company, LLC, Board of Directors of ATH Holding Company, LLC, and Pension Committee of ATH
Holding Company, LLC, Case No. 1:15-cv-02062-TWP-MPB (U.S. District Court Southern District of
Indiana, Indianapolis Division). Deposition: September 2018.

Move, Inc. v. Citigroup Global Markets, Inc., Case No. 08-0335 (State of California, LA Division).
FINRA Dispute Resolution Testimony: December 2018.

Duane & Virginia Lanier Trust, et al., v. SandRidge Mississippian Trust I, et al., Case No. 5:15-cv-
00634-G (U.S. District Court Western District of Oklahoma). Deposition: June 2019.

In re SandRidge Energy, Inc. Securities Litigation, Case No.: 5:12-cv-01341-G (U.S. District Court
Western District of Oklahoma). Deposition: June 2019.

MBIA Insurance Corporation v. Credit Suisse Securities (USA) LLC, DLJ Mortgage Capital, Inc. and
Select Portfolio Servicing, Inc., Case No. 603751/2009 (Supreme Court of The State Of New York
County Of New York). Trial Testimony: August 2019.

Benjamin Reetz v. Lowe’s Companies, Inc., et al., Case No.: 5:18-cv-00075-KDB-DCK (U.S. District
Court Western District Of North Carolina, Statesville Division). Deposition: November 2020.

Fredric A. Guenther, et al. vs. BP Retirement Accumulation Plan, et al., Case No.: 4:16-cv-00995 (U.S.
District Court Southern District of Texas, Houston Division). Deposition: December 2020.
Ambac Assurance Corporation v. U.S. Bank National Association, Case No. 17-cv-2614-PAE (U.S.
District Court Southern District of New York). Deposition: August 2021.
Commerzbank AG v. U.S. Bank National Association, Case No. 16-CV-04569-DLC (U.S. District Court
Southern District of New York). Deposition: November 2021.




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                                 Appendix C
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Academic Articles

         Cornell, Bradford and R. Gregory Morgan, “Using Finance Theory to Measure
          Damages in Fraud on the Market Cases,” UCLA Law Review, Vol. 37, 1990, pp. 883–
          924.
         Fama, Eugene F., “Efficient Capital Markets II,” Journal of Finance, Vol. 46, No. 5,
          December 1991, pp. 1575–1617.
         Fama, Eugene F., “Efficient Capital Markets: A Review of Theory and Empirical
          Work,” Journal of Finance, Vol. 25, No. 2, 1970, pp. 383–417.
         Greene, Jason T. and Susan G. Watts, “Price Discovery on the NYSE and the
          NASDAQ: The Case of Overnight and Daytime News Releases,” Financial
          Management, Vol. 25, No. 1, 1996, pp. 19–42.
         Löfgren, Karl-Gustaf, Torsten Persson, and Jörgen W. Weibull, “Markets with
          Asymmetric Information: The Contributions of George Akerlof, Michael Spence and
          Joseph Stiglitz,” Scandinavian Journal of Economics, Vol. 104, No. 2, 2002, pp. 195-
          211.
         Lucas, Jr., Robert E., “Asset Prices in an Exchange Economy,” Econometrica, Vol.
          46, No. 6., 1978, pp. 1429–1445.
         Muth, John, “Rational Expectations and the Theory of Price Movements,”
          Econometrica, Vol. 29, No. 3, 1961, pp. 315–335.


Analyst Reports

         Analyst reports obtained from counsel, Thomson Eikon, and CapIQ during the period
          of September 2018 to February 2019 from the following contributors: Acquisdata,
          Argus Research, Atlantic Equities, Baird, Bank of America, Bernstein, BMO, BTIG,
          BWS Financial, Canaccord Genuity, Citi, Cleveland Research, Credit Suisse,
          Crispidea, Cross Research, D.A. Davidson, Daiwa, Elazar, FBN, Goldman Sachs,
          Guggenheim, HSBC, Jefferies, JLWC, JP Morgan, KeyBanc, KTB, Longbow
          Research, Loop Capital, Macquarie Group, Maxim Group, Monness Crespi Hardt,
          Morningstar, Morgan Stanley, Needham & Company, Nomura, Oppenheimer, Piper
          Sandler, Raymond James, RBC, Rosenblatt, TF International, Tigress, Trefis, UBS,
          Wedbush, Wells Fargo, Wolfe, and Yuanta. These analyst reports were produced
          with my Class Certification Report.
         Analyst reports included in Exhibit 1 (“Documents and Other Information
          Considered”) of Dr. Feinstein’s report dated May 5, 2021.


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Books

           Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of
            Financial Markets, 2nd ed., Princeton University Press, Princeton, NJ, 1997.
           Hull, John C., Options, Future, and other Derivatives, 8th ed., Prentice Hall,
            Hoboken, NJ, 2012.
           Chance, Don M. and Robert Brooks, An Introduction to Derivatives and Risk
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Case Rulings

           Mark Smilovits et al. v. First Solar, Inc. et al., Order, December 27, 2019.


Conference Calls

           Q3 2018 Apple Inc. Earnings Call, “Edited Transcript,” July 31, 2018.
           Apple Inc. Special Event, “Edited Transcript,” September 12, 2018.
           Apple Inc. Special Event, “Edited Transcript,” October 30, 2018.
           Q4 2018 Apple Inc. Earnings Call, “Edited Transcript,” November 1, 2018.
           Q1 2019 Apple Inc. Earnings Call, “Edited Transcript,” January 29, 2019.


Data

           CRSP
           Refinitiv


Depositions

           30(b)(6) Deposition of Donal Conroy, March 15, 2021.
           Deposition of Greg Joswiak, March 15, 2022.
           Deposition of Timothy D. Cook, February 9, 2022.
           Deposition of Luca Maestri, February 25, 2022.


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         Deposition of Don M. Chance (Rough Draft), June 8, 2022.


Bates-Stamped Materials

         APL-SECLIT_00284273.
         APL_SECLIT_00593593.
         APL-SECLIT_00055698–854.
         APL-SECLIT_00056796–952.
         APL-SECLIT_00057900–8057.
         APL-SECLIT_00058058–216.
         APL-SECLIT_00058217–375.
         APL-SECLIT_00058376–534.
         APL-SECLIT_00058535–693.
         APL-SECLIT_00058694–852.
         APL-SECLIT_00058853–9011.
         APL-SECLIT_00059012–170.
         APL-SECLIT_00059171–329.
         APL-SECLIT_00059330–488.
         APL-SECLIT_00059489–647.
         APL-SECLIT_00059648–806.
         APL-SECLIT_00059807–965.
         APL-SECLIT_00059966–60124.
         APL-SECLIT_00060125–283.
         APL-SECLIT_00060284–442.
         APL-SECLIT_00060443–601.
         APL-SECLIT_00060602–760.
         APL-SECLIT_00060761–919.



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    APL-SECLIT_00060920–1078.
    APL-SECLIT_00061079–237.
    APL-SECLIT_00061238–396.
    APL-SECLIT_00061397–555.
    APL-SECLIT_00061556–714.
    APL-SECLIT_00061715–873.
    APL-SECLIT_00061874–2032.
    APL-SECLIT_00062033–192.
    APL-SECLIT_00062193–352.
    APL-SECLIT_00062353–504.
    APL-SECLIT_00062505–656.
    APL-SECLIT_00062657–808.
    APL-SECLIT_00062809–960.
    APL-SECLIT_00062961–3112.
    APL-SECLIT_00063113–264.
    APL-SECLIT_00063265–416.
    APL-SECLIT_00063417–568.
    APL-SECLIT_00063569–739.
    APL-SECLIT_00063740–910.
    APL-SECLIT_00063911–4081.
    APL-SECLIT_00064082–252.
    APL-SECLIT_00064253–423.
    APL-SECLIT_00064424–594.
    APL-SECLIT_00064595–766.
    APL-SECLIT_00064767–937.
    APL-SECLIT_00064938–5108.



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         APL-SECLIT_00065109–279.
         APL-SECLIT_00065280–450.
         APL-SECLIT_00065451–621.
         APL-SECLIT_00065622–793.
         APL-SECLIT_00065794–965.
         APL-SECLIT_00065966–6136.
         APL-SECLIT_00066137–308.
         APL-SECLIT_00066309–480.
         APL-SECLIT_00066481–652.
         APL-SECLIT_00066653–824.
         APL-SECLIT_00066825–996.
         APL-SECLIT_00066997–7168.
         APL-SECLIT_00067169–340.
         APL-SECLIT_00067341–512.
         APL-SECLIT_00261104–177.
         APL-SECLIT_00284221–8.
         APL-SECLIT_00284232.
         APL-SECLIT_00284951.
         APL-SECLIT_00361813.
         APL-SECLIT_00408660.


Expert Reports

         Expert Report of Professor Steven P. Feinstein, Ph.D., CFA, In Re Apple Inc.
          Securities Litigation, May 5, 2021, including material produced by Dr. Feinstein and
          all documents considered therein.
         Expert Report of Professor Steven Grenadier, In Re Apple Inc. Securities Litigation,
          July 9, 2021, including all documents considered therein.



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         Reply Expert Report of Professor Steven P. Feinstein, Ph.D., CFA, In Re Apple Inc.
          Securities Litigation, August 24, 2021, including material produced by Dr. Feinstein
          and all documents considered therein.
         Expert Report of Don Chance, In Re Apple Inc. Securities Litigation, April 15, 2022.
         Corrected Expert Report of Alex Gauna, MBA, In Re Apple Inc. Securities Litigation,
          May 9, 2022.
         Expert Report of Oded Shenkar, In Re Apple Inc. Securities Litigation, April 27,
          2022.
         Expert Report of Professor Brett Trueman, Ph.D., In Re Apple Inc. Securities
          Litigation, April 27, 2022.
         Expert Report of Professor Dennis Yang, Ph.D., In Re Apple Inc. Securities
          Litigation, April 27, 2022.
         Expert Report of Steven P. Feinstein, Ph.D., CFA, In Re Apple Inc. Securities
          Litigation, April 27, 2022, including material produced by Dr. Feinstein and all
          documents considered therein.
         Summary and Expert Report of Eric Poer - Corrected, CPA, CFF, ABV, CFE, In Re
          Apple Inc. Securities Litigation, May 9, 2022.


Public Press

         Public press articles extracted from a Factiva search with “Apple” in the headline or
          lead paragraph, and “iPhone” and (“China” or “Chinese”) anywhere in the text
          between October 1, 2018 to January 9, 2019 from a search of major business
          publications and wires including Dow Jones Institutional News, Dow Jones
          Newswires, PR Newswire, Business Wire, Barron’s, Far Eastern Economic Review,
          Financial Times – Print and Online (ft.com), Forbes, Investor's Business Daily,
          Reuters News, The Economist (United Kingdom), The New York Times, and The
          Wall Street Journal; Chinese Publications including Central News Agency English
          News, China Daily, Global Times, People’s Daily Online, South China Morning Post,
          scmp.com, Xinhua News Agency, and Yicai Global; Factiva’s technology sources;
          and Theflyonthewall.com. These public press articles were produced with my Class
          Certification Report.
         “Apple cancels production boost for budget iPhone XR: sources,” Nikkei Asia,
          November 5, 2018.




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         “CNBC Exclusive: CNBC Transcript: Apple CEO Tim Cook Speaks with CNBC’s
          Josh Lipton Today,” CNBC, January 2, 2019,
          https://www.cnbc.com/2019/01/02/cnbc-exclusive-cnbc-transcript-apple-ceo-tim-
          cook-speaks-with-cnbcs-josh-lipton-today.html.


Case Documents

         In re Apple Inc. Securities Litigation, Revised Consolidated Class Action Complaint
          for Violation of the Federal Securities Laws, June 23, 2020.
         In re Apple Inc. Securities Litigation, Order Granting In Part And Denying In Part
          Defendants’ Motion To Dismiss The Revised Consolidated Class Action Complaint,
          November 4, 2020.
         In re Apple Inc. Securities Litigation, Order Granting in Part and Denying in Part
          Motion for Class Certification, February 4, 2022.
         In re Apple Inc. Securities Litigation, Lead Plaintiff Norfolk County Counsel as
          Administering Authority of the Norfolk Pension Fund’s Objections and Responses to
          Defendant Apple Inc.’s Second Set of Interrogatories to Lead Plaintiff, March 16,
          2022.


SEC Filings

         Apple Inc., Form 10-K for the fiscal year ended September 30, 2017, dated
          November 3, 2017.
         Apple Inc., Form 10-K for the fiscal year ended September 29, 2018, dated
          November 5, 2018.
         Apple Inc., Form 10-Q for the fiscal quarter ended December 29, 2018, dated January
          30, 2019.
         Apple Inc., Form 10-Q for the fiscal quarter ended March 30, 2019, dated May 10,
          2019.
         Apple Inc., Form 10-Q for the fiscal quarter ended June 29, 2019, dated July 31,
          2019.
         Apple Inc., Form 10-K for the fiscal year ended September 28, 2019, dated October
          31, 2019.




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         Apple Inc., Form 10-K for the fiscal year ended September 26 2020, dated October
          30, 2020.
         Apple Inc., Form 10-K for the fiscal year ended September 25, 2021, dated October
          29, 2021.


Press Releases

         “Apple introduces iPhone XR,” Apple Inc. Press Release, September 12, 2018.
         “Lumentum Updates Outlook For Fiscal Second Quarter 2019,” Lumentum Press
          Release, November 12, 2018.
         “Letter from Tim Cook to Apple Investors,” Apple Inc. Press Release, January 2,
          2019.
         “Apple Reports First Quarter Results – Consolidated Financial Statements,” Apple
          Inc. Press Release, January 29, 2019.


Miscellaneous Documents

         “The I/B/E/S Glossary,” I/B/E/S International, Inc., 2000.
         Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u–4(e).


      All other materials cited in this report and exhibits to this report.




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                                              Appendix D


Appendix D: The Risk of Pressure from Economic Deceleration and Trade Tensions Was
Disclosed by the Company and Commented on by Securities Analysts by November 5, 2018

1.      Apple’s 10-K filed November 5, 2018 specifically discusses the risk of trade tensions:

        International trade disputes could result in tariffs and other protectionist measures
        that could adversely affect the Company’s business. Tariffs could increase the
        cost of the Company’s products and the components and raw materials that go
        into making them. These increased costs could adversely impact the gross margin
        that the Company earns on its products. Tariffs could also make the Company’s
        products more expensive for customers, which could make the Company’s
        products less competitive and reduce consumer demand. Countries may also
        adopt other protectionist measures that could limit the Company’s ability to offer
        its products and services. Political uncertainty surrounding international trade
        disputes and protectionist measures could also have a negative effect on consumer
        confidence and spending, which could adversely affect the Company’s business.1


2.      Following the filing of the 10-K on November 5, 2018, a Wells Fargo analyst report
specifically acknowledged that Apple added a new risk disclosure on tariffs, and this was “no
surprise”:

        New Tariff Disclosure in Risk Section: While no surprise, the 10-K include[s] a
        new disclosure in the risk section, outlining the potential risk / disruption from
        international trade disputes.2




1
  2018 10-K, p. 15. Furthermore, the same 10-K as well as the 10-K filed a year earlier both discuss the risk that
“global and regional economic conditions could materially adversely affect the Company[].” (Apple Inc., Form 10-
K for the fiscal year ended September 30, 2017, dated November 3, 2017, p. 8; 2018 10-K p. 8) On this topic, the
2018 10-K states: “The Company has international operations with sales outside the U.S. representing a majority of
the Company’s total net sales. In addition, a majority of the Company’s supply chain, and its manufacturing and
assembly activities, are located outside the U.S. As a result, the Company’s operations and performance depend
significantly on global and regional economic conditions. Adverse macroeconomic conditions, including inflation,
slower growth or recession, new or increased tariffs, changes to fiscal and monetary policy, tighter credit, higher
interest rates, high unemployment and currency fluctuations could materially adversely affect demand for the
Company’s products and services.” (2018 10-K, p. 8)
2
  “AAPL: 10-K Review - Record Mfg. Purchase Commit, F2019 Capex Guide & More,” Wells Fargo, November 5,
2018, p. 1, emphasis in original.




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3.      Moreover, securities analysts extensively discussed these risks, both prior to and
immediately following the November 1, 2018 earnings call and the issuance of Apple’s 10-K on
November 5, 2018. For example, analysts noted:


        Goldman Sachs (October 24, 2018)
        [G]iven market conditions in China and expanding uncertainty around trade and
        macro we believe Apple is likely to lean conservatively on their guidance for FQ1
        to Dec.3


        UBS (October 29, 2018)
        China is the greatest unknown given macro uncertainties. … Risks to our Apple
        thesis include … macro weakness dampening product demand, especially in
        China.4


        D.A. Davidson (October 31, 2018)
        As we have stated previously, we see China-related risks as having the most
        potential to slow Apple’s momentum, both from tariffs and when considering
        roughly 20% of its sales come from consumers in China, which could be at risk in
        the event a prolonged trade war results in protectionist purchasing by consumers.5


        D.A. Davidson (November 2, 2018)
        We also consider the 16.4% revenue growth for its greater China [sic] region as
        also remarkable given some investors were concerned about slowing growth for
        that region and given, again, the aforementioned trade war between the U.S. and
        China. … That said, we still see China as representing the single greatest risk to



3
  “iPhone Mix Trending Better; Increasing ASPs. China/Macro unit risk remains. Reiterate Neutral,” Goldman
Sachs, October 24, 2018, p. 1.
4
  “FQ4:18 (Sep) Earnings Preview: Survey Work Supports Very Strong iPhone ASP Narrative,” UBS, October 29,
2018, pp. 5, 16.
5
  “Apple’s New AMPed Product Line Up; BUY,” D.A. Davidson, October 31, 2018, p. 1.




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        shares and will be monitoring tariffs closely, especially in the event the next
        round is EVERYTHING out of China.6


        Needham & Company (November 2, 2018)
        Risks to Our Target Price … China is the question that generates the most debate.
        Although greater China [sic] reported double digit growth in FY2Q18, risks to
        AAPL in China appear to be rising.7


        Wedbush (November 5, 2018)
        Risks to the Attainment of Our Price Target and Rating: … Success of Apple’s
        product strategy in China, which remains a key growth driver for the coming
        years and could be impaired by lower priced smartphones and competition. China
        macro/tariffs issue remain a long-term risk.8




6
  “Selling Products at Higher Prices Is a Great Thing; BUY,” D.A. Davidson, November 2, 2018, p. 1.
7
  “Not a Hardware Company. Buy AAPL on Weakness,” Needham & Company, November 2, 2018, p. 8, emphasis
removed.
8
  “Taking a Bite Out of the Apple Bear Thesis; Seeing the Forest Through the Trees,” Wedbush, November 5, 2018,
p. 8, emphasis removed.


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                                        Exhibit 1
                                       Apple Inc.
               Change in FQ1'19 iPhone Unbricking Forecast from 11/1/18
                                  All iPhone Models
Percent Change
                                  11/1/18 – 12/29/18
from 11/1/18
 0%

 -2%

 -4%                                    Greater China


 -6%

 -8%

                                  World Wide
-10%                              (excluding Greater China)

-12%

-14%

-16%

-18%

-20%
   11/1/18        11/6/18        11/12/18       11/18/18       11/24/18       11/30/18        12/5/18       12/11/18       12/17/18       12/23/18     12/29/18
                                                                                                                                               Date of Forecast

Source: Total iPhone Summaries dated 11/1/18 – 12/29/18 (APL_SECLIT_00057900 – APL_SECLIT_00067512)

Note: Forecasts for each geographic region are from Apple's "Current Qtr Extrap" panel and "Qtr Total" column. Forecasts exclude refurbished phones.



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                                 Exhibit 2A
                     Selected Analyst Commentary on
                          Weaker Upgrade Cycle
                     January 2, 2019 – January 9, 2019
Bank of America (January 2, 2019)
In a further negative, Apple noted that developed markets were impacted by a worse than
expected iPhone upgrade cycle, driven by weaker macro environment, fewer carrier subsidies,
stronger dollar impacting ASPs, and prolonged use of older models given reduced pricing for
iPhone battery replacements.1


BMO (January 2, 2019)
Lower revenue guide. Apple’s weaker December revenue guide was due largely to more macro
weakness than expected (emerging markets), as well as fewer iPhone upgrades. There has been
a lot of negative press about iPhone unit shipments and mix, although some of the reasons given
for the miss are not all that surprising (lower subsidies, cheaper battery replacements, strong U.S.
dollar, etc.). … The company pointed out a number of factors other than the China and emerging
markets weakness, none of which is surprising to us: iPhone upgrades in developed markets
were also weaker than expected, likely due to lengthening replacement rates.2


BTIG (January 2, 2019)
Subsidies? CEO Tim Cook primarily cited a weakening economy in China as the reason for the
revenue shortfall and the environment sounds very bad there and obviously not being helped by
the ongoing trade war or the rising prices of Apple’s products. Cook also noted the lack of
subsidies by wireless operators in developed markets. That is not a new trend. On CNBC, Cook
suggested that trade-ins offered by Apple can act as an effective subsidy, but operators have been
offering trade-in promotions for years, albeit at lower levels in the past two years. (Link) There
has not been evidence of an incremental acceleration in the decline in upgrade rates in the United
States or other developed markets. The replacement cycle might not be rebounding, but it's very
hard to believe that a further lengthening in the product cycle is a material contributor to the miss
reported this afternoon.3




1
  “Rare Neg Pre: Cut to Guide on Weak China, iPhones; Services Better. PO to $195,” Bank of America, January 2,
2019, p. 1.
2
  “Another Shoe Drops; Lowering Estimates, Target,” BMO, January 2, 2019, pp. 1, 3, emphasis in original.
3
  “Cutting Apple Target as iPhones Miss by More than 12 Million,” BTIG, January 2, 2019, p. 2, emphasis in
original.


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                                Exhibit 2A
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                         Weaker Upgrade Cycle
                    January 2, 2019 – January 9, 2019
Canaccord Genuity (January 2, 2019)
While we had anticipated a stronger upgrade cycle heading into 2019 from to the new XS, XS
Max and XR models, we believe the installed iPhone user base remains loyal and anticipate
lower but stable replacements rates going forward to drive steady iPhone sales through C2020.
Given the higher priced iPhones, we now believe consumers are holding on to their iPhones
longer. Therefore, we have lowered our replacement rate upgrades from roughly 23% of the new
iPhone user base (excludes refurbished sales) to roughly 20% of iPhone owners will upgrade to a
new iPhone in 2019 and 2020.4


Cross Research (January 2, 2019)
Within the iPhone business, Apple noted lower than expected upgrade rates given the shift away
from subsidies (we think likely impacting Japan which the company did not include in its list of
record revenues), strength of the US dollar and a greater than expected number of customers
taking advantage of the reduced price to replace batteries (ran from 12/30/17 to 12/31/18) all of
which were in addition to weaker macroeconomic conditions.5


Goldman Sachs (January 2, 2019)
A letter on this subject from Tim Cook also flagged weaker replacement demand than expected.
… Beyond China, we don’t see strong evidence of a consumer slowdown heading into 2019 but
we just flag to investors that we believe Apple’s replacement rates are likely much more
sensitive to the macro now that the company is approaching maximum market penetration for the
iPhone. … We believe that focus should now shift to ASP decline potential in 2019 as weaker
macro and FX may push consumers toward less expensive iPhone models. We are not yet
modeling this but we plan to carefully analyze March guidance and third party data for any
evidence that ASP momentum is shifting against Apple.6




4
  “Weak iPhone Sales Result in $7B Shortfall to Q1/F’19 Guidance; Lowering Estimates and PT to $190,”
Canaccord Genuity, January 2, 2019, p. 2.
5
  “China Fears Realized, Apple Warns,” Cross Research, January 2, 2019, p. 2.
6
  “FQ1’19 Negative Pre-announcement as EM/China Demand Environment Remains Weak,” Goldman Sachs,
January 2, 2019, pp. 1–3.


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                                 Exhibit 2A
                     Selected Analyst Commentary on
                          Weaker Upgrade Cycle
                     January 2, 2019 – January 9, 2019
KeyBanc (January 2, 2019)
Pricing elasticity and commoditization of hardware are likely larger problems for iPhone
than macroeconomics. Apple appears likely to report a high teens y/y decline in iPhone unit
sales in F1Q (Dec.). While Apple suggested weak China sales as a significant contributor, we
believe aggressive price increases and limited functional differentiation in new models are
driving elongated holding periods and trade down activity across several geographies. We see
little to change this in the medium term, which suggests a likelihood for soft iPhone results to
persist. … Updated F1Q Guidance Suggests More Issues Than Just China … While the
deterioration in U.S.-China relations clearly contributed to the weakness in F1Q, we believe the
results also reflect a lack of incremental iPhone pricing power on a global basis,
commoditization of iPhone hardware, and App Store monetization that is likely near a medium-
term peak. This is a damaging combination of factors that has no simple fix, in our view, and
seems unlikely to moderate in the foreseeable future.7


Nomura (January 2, 2019)
Partly structural, partly cyclical. Apple noted fewer carrier subsidies and reduced battery
replacement pricing. These seem but a half step away from recognizing ASPs are structurally
too high. Conversely, trade tensions, product boycotts, and even macro concerns all seem
cyclical.8


RBC (January 2, 2019)
The incremental challenges were related to: a) Greater China: Accounted for much of the
revenue shortfall (~$7B) and all the y/y revenue decline (5%) was driven by China softness; b)
some developed countries saw weaker than expected iPhone upgrades happen; & c) GM’s are
towards the low-end of guide and surprisingly OPEX remained at $8.7B.9




7
  “APPL: Guidance Revision Suggests More Issues than Just China,” KeyBanc, January 2, 2019, pp. 1–2, emphasis
in original.
8
  “Bear in a China Shop: Severe iPhone Miss Partially Offset by Other Units,” Nomura, January 2, 2019, p. 1,
emphasis in original.
9
  “From China with Love,” RBC, January 2, 2019, p. 1.


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                                Exhibit 2A
                    Selected Analyst Commentary on
                         Weaker Upgrade Cycle
                    January 2, 2019 – January 9, 2019
Wells Fargo (January 2, 2019)
REITERATED NEGATIVE VARIABLES: Apple reiterated anticipated negative impacts in
F1Q19 … (2) FX headwinds resulting in a -200bps y/y impact on y/y revenue growth; we would
assume an as expected ~90bps neg. impact on GM%.10


Argus Research (January 3, 2019)
CEO Tim Cook said that lower-than-expected revenue was primarily attributable to China, while
also acknowledging that upgrades to new iPhones were not as strong as anticipated in other
markets. … The fourth anticipated headwind turned out to be much stiffer than anticipated.
Economic weakness in emerging markets exceeded expectations and contributed, along with
other factors, to fewer iPhone upgrades than initially anticipated. …While China and some other
emerging markets accounted for the 'vast majority' of the decline in iPhone sales, iPhone
upgrades in some developed markets also failed to meet Apple's targets. In addition to the
worsening global economic climate, Apple pointed to other factors impacting developed-market
upgrades including fewer carrier subsidies, U.S. dollar strength, and a battery replacement
program that has likely extended the life of older phones.
…
Other anticipated headwinds were also in line with expectations. U.S. dollar strength pushed up
iPhone prices in numerous overseas markets, and the company experienced an as-anticipated
200-basis-point hit to annual revenue growth. Also, Apple knew it had to ramp an
‘unprecedented number’ of new products in 1Q19, leading it to expect supply constraints that
would ‘gate’ overall revenue growth. In addition to the new iPhones, new products such as the
Apple Watch Series 4 and the new iPad Pro were constrained for much or all of the quarter,
while AirPods and MacBook Air were partly constrained.11


Atlantic Equities (January 3, 2019)
Apple lowered its Q1 revenue guidance to ~$84bn from $89-$93bn - implying an EPS of
~$4.16 vs $4.45-$4.78 previously – with the company citing macro weakness in China and
lower iPhone replacement activity as the main reasons for the shortfall. While the former
should ultimately prove transitory, the latter appears more structural, reflecting both the



10
   “AAPL: Neg. F1Q19 Prean. – iPhone Rev. -15% + Y/Y; A Multi-Quarter Challenge,” Wells Fargo, January 2,
2019, p. 1, emphasis in original.
11
   “Analyst’s Notes,” Argus Research, January 3, 2019, pp. 1–3.


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                                  Exhibit 2A
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                           Weaker Upgrade Cycle
                      January 2, 2019 – January 9, 2019
mature nature of the smartphone market and Apple potentially having reached the limits
of its pricing power.
…
Even excluding China, the revised guidance implies flattish revenue YoY, indicating broader
problems for the company. The new outlook implies iPhone revenue down ~15% YoY (~$9bn),
which we estimate implies a ~10m YoY fall in units to ~67m. The company cited lower channel
fill, fewer carrier subsidies, FX-related price increases and uptake of the battery replacement
programme as factors impacting unit shipments. However, we believe a combination of the
maturing smartphone market, declining perceived innovation and the premium pricing of the
new handsets all also contributed to the decline. Of these, the latter is most troubling as it
suggests Apple may have less pricing power in its iPhone franchise than had been perceived
several months ago.12


Baird (January 3, 2019)
Greater China headwinds. Apple attributed most of the FQ1 shortfall and YOY revenue
decline to softer China demand, which it attributed to slowing GDP and U.S. trade tensions,
along with broader macro and Fx pressures in many emerging markets. It appears Greater China
revenue declined roughly 30% more YOY. … Apple also called out lower iPhone upgrades
globally due to fewer carrier subsidies, price increases and iPhone battery replacement
programs.13


Bernstein (January 3, 2019)
Perhaps in part because there are no easy fixes, Apple failed to acknowledge the possibility
that current iPhone prices are simply too high (stunningly, we note that iPhones prices are
nearly 5x higher than the average non-Apple smartphone sold globally). Moreover, we
believe that the high-end smartphone market is fully mature with *structurally* elongating
replacement cycles, which we maintain is the company’s key long-term challenge.
…




12
   “Q1 Guidance Cut Highlights Structural Challenges,” Atlantic Equities, January 3, 2019, p. 1, emphasis in
original.
13
   “China Weak, But Still Positive on Broader Eco-System,” Baird, January 3, 2019, p. 1, emphasis in original.


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                                Exhibit 2A
                    Selected Analyst Commentary on
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                    January 2, 2019 – January 9, 2019
While Apple attributed its miss to greater than expected economic weakness in emerging
markets, it also highlighted that it experienced fewer iPhone upgrades due to less carrier
subsidies, US dollar strength, and lower priced battery replacements.
The other real issue that Apple's press release did not mention explicitly is that the high-end
smartphone market is increasingly mature (having declined for 3 straight years – Exhibit 7) and
the overall market contracted for the first time in 2018 (Exhibit 8). Perhaps more importantly,
we believe that replacement cycles are elongating. In recent conversations, Apple executives
have conceded that they believe replacement cycles have elongated perhaps 3 to 4 months over
the past few years, but that average replacement cycles for new iPhones remain under three
years. We worry that the combination of increasing prices and limited new functionality lead to
further elongation in replacement cycles over time, akin to what we have seen with PCs over the
last 6 years.14


Cleveland Research (January 3, 2019)
iPhone notably weak[.] Lower than anticipated sales in Greater China[.] Weaker iPhone
accounts for all of rev shortfall vs. guidance[.] Other emerging market iPhone upgrades also
weak; customers using devices longer (lower subsidy), US dollar strength related price increases,
and iPhone battery replacements option at lower price[.]15


D.A. Davidson (January 3, 2019)
The company's management pointed to numerous issues including: 1) the ongoing trade war, 2)
a slowdown in China, and 3) slower than expected upgrades. While the macro issues could drag
on in the near future, we expect China, in particular, to be a strong market over time. However,
until that time, we believe Apple must continue to traverse the tightrope, which should remain
difficult.16


Daiwa (January 3, 2019)
iPhone cuts. Apple pointed to Greater China, but also other emerging markets for ‘the vast
majority of the y/y iPhone revenue decline’. We move our 1Q19 unit growth to down 15% y/y,

14
   “AAPL: Yes, Apple Pre-Announced… Our Key Take-aways and What to Do Now,” Bernstein, January 3, 2019,
pp. 1–3, emphasis in original.
15
   “AAPL: Negative Pre-Announce on Weak China and Soft iPhone (Cleveland Research),” Cleveland Research,
January 3, 2019, p. 2, emphasis in original.
16
   “Walking the Tightrope; BUY,” D.A. Davidson, January 3, 2019, p. 1.


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                                 Exhibit 2A
                     Selected Analyst Commentary on
                          Weaker Upgrade Cycle
                     January 2, 2019 – January 9, 2019
65.9m units, from prior 76.2m, was -2% y/y. For FY19 we move to 189m down 13%, from
214m down 2%. With gross margins holding at 38%, we believe that the strong ASP’s Apple
has been delivering held. Other iPhone issues Apple pointed to included less carrier subsidies,
less upgrades as consumers opted to take advantage of the lower battery replacement offer.
1Q19 to be reported on 1/29/19.17


FBN (January 3, 2019)
Stated factors that came in line with expectations. The following stated factors, which
contributed to weaker revenue growth, played out roughly in line with expectations: … Strong
US dollar. The strong US dollar created a revenue headwind of ~200bp Y/Y.18


JP Morgan (January 3, 2019)
Apple’s iPhone shipment volumes continued to be challenged by the worsening macro weakness
in emerging markets (particularly China), and by elongating replacement cycles in developed
markets, the combination of which led to a substantial -8% revision to F1Q19 (Dec-end) revenue
guidance. The guidance revision follows an already disappointing F1Q19 revenue guide issued
in early November.
…
Retain Overweight rating focusing on Services transformation, while looking past iPhone
volume challenges largely led by cyclical drivers. Apple had already embedded various
cyclical headwinds, including iPhone launch timing, adverse FX impact (estimated to be 200
bps), and supply chain constraints (for Airpods, Apple Watch, and iPad Pro) in the softer
guidance issued in early November. However, headwinds from the economic weakness in EMs
drove incremental cyclical weakness, in addition to a structural driver in elongating replacement
cycle for iPhones in the developed markets ― led in our view by robustness of the product and
success of the battery replacement plan, both of which are positive for the firm long-term, while
proving painful near-term.19




17
   “iPhone Sales Materially Disappoint, China a Problem,” Daiwa, January 3, 2019, p. 1, emphasis in original.
18
   “AAPL: Large Deceleration in Sales to China, But Large Stock Decline Creates Value – Lowering PT to $190,”
FBN, January 3, 2019, p. 1, emphasis in original.
19
   “iPhone Volume Woes Continue on Cyclical Headwinds; Remain OW on Services Transformation & Leverage of
Installed Base,” JP Morgan, January 3, 2019, p. 1, emphasis in original.


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                                 Exhibit 2A
                     Selected Analyst Commentary on
                          Weaker Upgrade Cycle
                     January 2, 2019 – January 9, 2019
Loop Capital (January 3, 2019)
AAPL saw iPhone upgrades softer than anticipated in certain developed markets. Contributors
included an impact from higher ASP iPhone X, US dollar strength-related price increases, and
customers taking advantage of significantly reduced pricing for iPhone battery replacements.20


Morgan Stanley (January 3, 2019)
In early December, we lowered FY19 iPhone shipments by 13M (or 6%) - from 213M to 200M -
baking in a 6 month longer replacement cycle in China. But the combination of an even weaker
China and continued replacement cycle lengthening in developed markets that are digesting
lower subsidies and cheaper battery upgrades lead us to take FY19 iPhone units down by another
20M, to 180.25M or -17% Y/Y.21



Morningstar (January 3, 2019)
We believe the current headwinds experienced by Apple in China and lack of growth in other
regions are consistent with our view that replacement cycles are lengthening in the face of higher
priced flagships. We don't believe the weakness is due to a significant number of users
switching to Android-based phones, although we believe recent events have validated our moat
trend downgrade from positive to stable in mid-2018, stemming from our view that Apple’s
narrow moat derived from switching costs and intangible assets are intact, but no longer
strengthening.22


Piper Sandler (January 3, 2019)
The lowered expectations are largely due to weaker than anticipated iPhone sales in Greater
China, as well as several emerging markets. China macro weakness was specifically highlighted
as a primary reason for the miss, with that weakness being exacerbated by trade tensions with the
U.S. and the stronger U.S. Dollar, among other factors.23

20
   “Downgrading to Hold as iPhone Visibility Again Brings Valuation into Question,” Loop Capital, January 3,
2019, p. 1.
21
   “Weak China More than Offsets Revenue Strength Outside of iPhone; Lowering Estimates,” Morgan Stanley,
January 3, 2019, p. 1.
22
   “Apple’s 1Q Headwinds Look Menacing; Longer-Term Outlook Remains Bright Thanks to Service,”
Morningstar, January 3, 2019, p. 2.
23
   “Dec Qtr Pre-Release Largely Due to China Weakness; Maintain OW, But PT to $187,” Piper Sandler, January 3,
2019, p. 1.


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                                 Exhibit 2A
                     Selected Analyst Commentary on
                          Weaker Upgrade Cycle
                     January 2, 2019 – January 9, 2019
Raymond James (January 3, 2019)
While currency, component constraints, and timing of the new products launches represented
headwinds in the quarter, management indicated these factors were all broadly consistent with
expectations.24


RBC (January 3, 2019)
The incremental challenges were related to: … b) some developed countries saw weaker than
expected iPhone upgrades … While we do think elongating replacement cycles are a key issue
here broadly, there is a notable drop in China revenues that could have implications for
companies with high China exposure.25


UBS (January 3, 2019)
Q: How would iPhone Perform in F19? We forecast iPhone revenue to decline 12% in F19
driven by roughly 15% decline in units partially offset by 5% growth in ASPs. Macro
uncertainties are impacting demand in emerging markets and developed markets are seeing
elongating replacement cycle due to lower carrier subsidies and battery replacements. High
retention rates would ultimately lead to upgrades.26


Wolfe (January 3, 2019)
The surprises were (1) soft China hardware demand as economic slowing and trade tensions
impacted consumers, and (2) upgrades not as strong as expected, likely because of fewer
subsidies, currency-driven price increases, and battery replacements.27




24
   “iPhone >> Services; Cutting Estimates on Significant iPhone Miss – AAPL, AVGO, QRVO, SWKS,” Raymond
James, January 3, 2019, p. 1.
25
   “IT Hardware/Semis: Apple Fallout – Sizing Up China,” RBC, January 3, 2019.
26
   “Services Good, But China Headwinds Intensifying; Cutting Target on Negative Pre,” UBS, January 3, 2019, p. 2,
emphasis in original.
27
   “Negative Preannouncement Due to Weak China and Light Upgrade Demand; Maintain Peer Perform Rating,”
Wolfe, January 3, 2019, p. 1.


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                         Exhibit 2B
             Selected Analyst Commentary on
     Global iPhone Pricing Power and Price Concerns
             January 2, 2019 – January 9, 2019
KeyBanc (January 2, 2019)
While the deterioration in U.S.-China relations clearly contributed to the weakness in F1Q, we
believe the results also reflect a lack of incremental iPhone pricing power on a global basis,
commoditization of iPhone hardware, and App Store monetization that is likely near a medium-
term peak. This is a damaging combination of factors that has no simple fix, in our view, and
seems unlikely to moderate in the foreseeable future.28


Nomura (January 2, 2019)
Partly structural, partly cyclical. Apple noted fewer carrier subsidies and reduced battery
replacement pricing. These seem but a half step away from recognizing ASPs are structurally
too high. Conversely, trade tensions, product boycotts, and even macro concerns all seem
cyclical.29


Atlantic Equities (January 3, 2019)
Even excluding China, the revised guidance implies flattish revenue YoY, indicating broader
problems for the company. … The company cited lower channel fill, fewer carrier subsidies, FX-
related price increases and uptake of the battery replacement programme as factors impacting
unit shipments. However, we believe a combination of the maturing smartphone market,
declining perceived innovation and the premium pricing of the new handsets all also contributed
to the decline. Of these, the latter is most troubling as it suggests Apple may have less pricing
power in its iPhone franchise than had been perceived several months ago.30




28
   “APPL: Guidance Revision Suggests More Issues than Just China,” KeyBanc, January 2, 2019, p. 2.
29
   “Bear in a China Shop: Severe iPhone Miss Partially Offset by Other Units,” Nomura, January 2, 2019, p. 1,
emphasis in original.
30
   “Q1 Guidance Cut Highlights Structural Challenges,” Atlantic Equities, January 3, 2019, p. 1.


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                         Exhibit 2B
             Selected Analyst Commentary on
     Global iPhone Pricing Power and Price Concerns
             January 2, 2019 – January 9, 2019
Bernstein (January 3, 2019)
Perhaps in part because there are no easy fixes, Apple failed to acknowledge the possibility
that current iPhone prices are simply too high (stunningly, we note that iPhones prices are
nearly 5x higher than the average non-Apple smartphone sold globally). Moreover, we
believe that the high-end smartphone market is fully mature with *structurally* elongating
replacement cycles, which we maintain is the company’s key long-term challenge. …
Surprisingly, the company did not acknowledge the possibility that iPhone prices have simply
become too expensive, and that the company may have misjudged elasticity of demand. … The
fact that Apple didn't raise the issue of price in its pre-announcement letter maybe a reflection of
the fact that there is no easy solution to the problem.31


FBN (January 3, 2019)
Unstated reasons for the miss. In addition to the factors noted above, we believe that the
following factors also played a role in the miss: Share loss in China. China has been losing
share in China to Huawei Oppo, Vivo, and Xiaomi (all private). … Nationalism in China. We
believe that Chinese consumers may be getting irritated by recent trade battles initiated by the
Trump administration and are deciding to buy from local manufacturers. High-priced iPhones
mismatch vs. consumer purchasing power in emerging markets. AAPL’s iPhone ASP, which hit
$790 last quarter, are priced too high for many consumers in emerging markets.32


Rosenblatt (January 3, 2019)
In addition to China weakness, we believe product pricing may be another reason other markets
are not seeing much growth.33




31
   “AAPL: Yes, Apple Pre-Announced… Our Key Take-aways and What to Do Now,” Bernstein, January 3, 2019,
pp. 1, 3, emphasis in original.
32
   “AAPL: Large Deceleration In Sales to China, But Large Stock Decline Creates Value – Lowering PT to $190,”
FBN, January 3, 2019, p. 1, emphasis in original.
33
   “Apple Trims Down Q1 Guidance, More Headwinds Expected in March Quarter,” Rosenblatt, January 3, 2019, p.
1.


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                            Exhibit 2B
                Selected Analyst Commentary on
        Global iPhone Pricing Power and Price Concerns
                January 2, 2019 – January 9, 2019
Wedbush (January 3, 2019)
Herein lies the quagmire for Apple and Cook going forward, continue to steer ahead with no
pricing changes and hope future iPhone designs will catalyze upgrades OR take the medicine
now and significantly cut prices ahead of the next iPhone cycle in the September timeframe to
stimulate demand with China front and center.34


Goldman Sachs (January 4, 2019)

Apple maintained its SP unit share on a Y/Y basis in Q3’18 at ~12%, but our iPhone estimates
for CQ4 imply ~3.2pp of share loss Y/Y. Note that Apple may not be losing share in its target
high end market but rather that whole market is likely ceding share to lower priced phones in
places like China where consumer demand is weak.35




34
     “Apple’s Darkest Day in the iPhone Era; Massive Negative Dec Results on China,” Wedbush, January 3, 2019, p.
1.
35
  “Technology: Hardware: Smartphone Model Update: Reducing Estimates as EMs Including China Continue to
Falter,” Goldman Sachs, January 4, 2019, p. 1.


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                            Exhibit 2C
                Selected Analyst Commentary on
            Gross Margin at Low End of Guided Range
                January 2, 2019 – January 9, 2019
BTIG (January 2, 2019)
Gross margin of 38% was at the low end of the guided range and reflected some contraction
from last year. We cut our future gross margin estimates by 50 basis points. Guidance on this
line item given the lower revenue expectations will be critical.36


Goldman Sachs (January 2, 2019)
We also cut our gross margin estimates a touch due to the lower revenues. Our FY’19 gross
margin forecast falls by 0.3pp to 38.1%. We also cut our EBIT margin estimates in-line with the
new guidance. As a result, our estimate for FY’19 EBIT margin falls by 1.2pp to 24.7%.37


Nomura (January 2, 2019)
iPhone weakness, primarily in China, drove a ~$7bn miss. F1Q sales should be ~$84bn vs.
consensus of $91bn. Apple noted China suffers from a softening macro picture and trade
tensions; an Apple boycott in support of the Huawei CFO couldn’t have helped. Other emerging
markets were soft. Finally, Apple alluded to a weaker macro and pricing in some developed
markets. We believe the weakness was primarily in the new Xs/Xr models. The gross margin
should reach 38% despite lower iPhone volumes.38


RBC (January 2, 2019)
The incremental challenges were related to: a) Greater China: Accounted for much of the
revenue shortfall (~$7B) and all the y/y revenue decline (5%) was driven by China softness; b)
some developed countries saw weaker than expected iPhone upgrades happen; & c) GM’s are
towards the low-end of guide and surprisingly OPEX remained at $8.7B.39




36
   “Cutting Apple Target as iPhones Miss by More than 12 Million,” BTIG, January 2, 2019, p. 2, emphasis in
original.
37
   “FQ1’19 Negative Pre-Announcement as EM/China Demand Environment Remains Weak,” Goldman Sachs,
January 2, 2019, p. 3.
38
   “Bear in a China Shop: Severe iPhone Miss Partially Offset by Other Units,” Nomura, January 2, 2019, p. 1,
emphasis in original.
39
   “From China with Love,” RBC, January 2, 2019, p. 1.


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                            Exhibit 2C
                Selected Analyst Commentary on
            Gross Margin at Low End of Guided Range
                January 2, 2019 – January 9, 2019
Wells Fargo (January 2, 2019)
GM% & OPEX: Apple is guiding F1Q19 GM% at ~38% (vs. 38.0%-38.5% initial guide that
included ~30bps q/q benefit from improving component costs and a -90bps FX impact; services
mix a consideration) and opex at ~$8.7B (vs. $8.7-$8.8B initial guide).40


Argus Research (January 3, 2019)
Apple revised its gross margin guidance to 38.0% from an initial range of 38.0%-38.5%. It
shaved its operating cost guidance to $8.7 billion from $8.7-$8.8 billion.41


Baird (January 3, 2019)
Other guidance comments. Gross margins lowered from 38-38.5% to 38% with opex expected
at $8.7 billion vs. $8.7-8.8 billion previously.42


Bernstein (January 3, 2019)
Our analysis suggests that iPhone margins declined about ~100-150 bps YoY, reinforcing
bears' concerns about the vulnerability of HW margins. Overall gross margins are now
expected to come in at the low end (38%) of Apple’s guidance range for Q1, and decline about
40 bps YoY, despite a very favorable commodity environment, stable to increasing ASPs and a
mix shift to services that added about 80 bps to company GMs. The upshot is that we estimate
that iPhone margins may be down 100 to 150 bps YoY to an estimated ~37.5-38% in FY Q1,
dramatically below the 50%+ level that iPhone enjoyed as recently as 2012. Part of Apple's re-
rating in 2018 was the driven by the belief that the company's services business (with its faster
growth rate and higher margins) could help buoy the fortunes of the company. While this is true
to some degree, Q1's results suggest that GMs remain vulnerable to Apple's hardware business,
which still amounts to 80%+ of revenues, and remains sensitive to volumes, competition, and
commodity prices.43




40
   “AAPL: Neg. F1Q19 Prean. – iPhone Rev. -15% + Y/Y; A Multi-Quarter Challenge,” Wells Fargo, January 2,
2019, p. 2, emphasis in original.
41
   “Analyst’s Notes,” Argus Research, January 3, 2019, p. 4.
42
   “China Weak, But Still Positive on Broader Eco-System,” Baird, January 3, 2019, p. 1, emphasis in original.
43
   “AAPL: Yes, Apple Pre-Announced… Our Key Take-aways and What to Do Now,” Bernstein, January 3, 2019,
p. 3, emphasis in original.


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                           Exhibit 2C
               Selected Analyst Commentary on
           Gross Margin at Low End of Guided Range
               January 2, 2019 – January 9, 2019
JP Morgan (January 3, 2019)
Lower EPS estimates by -14% and -10% for FY19 and FY20, respectively; price target
goes up to $228 ($266 prior). Led by the combination of the lower iPhone volume shipment
outlook and slightly lower margin outlook (led by weaker revenue outlook for iPhones), we are
lowering our FY19 and FY20 EPS estimates by -14% and -10%, respectively. Our out-year
estimate for FY21 declines more modestly, partly on account of continued strong pace of share
buybacks (Apple emphasized its target of being net cash neutral long-term) at a lower share price
relative to that assumed prior driving higher earnings accretion in the out-year.44


Oppenheimer (January 3, 2019)
What’s Next? We believe with slowing smartphone revenue, possibly degrading ASPs,
investors will start to worry about gross margins. For example, iPhone revenue levels are similar
to December 2015. Then, service and wearable sales were half of what they are today, yet gross
margins are lower by over 200 bps. Additionally, take rates, innovations, and M&A may
become dominant story lines.45




44
   “iPhone Volume Woes Continue on Cyclical Headwinds; Remain OW on Services Transformation & Leverage of
Installed Base,” JP Morgan, January 3, 2019, p. 2, emphasis in original.
45
   “Is This the First Crack?” Oppenheimer, January 3, 2019, p. 1, emphasis in original.


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                                                         Exhibit 3
                                                        Apple Inc.
                          Examples of Implied Volatilities Before and After January 3, 2019 and
                                          Resulting Impact on Option Price[1]
                                                                                                                     Using Dr. Feinstein's Methodology[2]
                                                                             Implied            Implied          Change in                                     Option Price on
                                                                           Volatility on      Volatility on       Implied           Option Price on          1/2/19 using Implied        Percent Change
                     Option Type Strike Price            Maturity             1/2/19             1/3/19          Volatility[3]          1/2/19[4]            Volatility on 1/3/19[5]     in Option Price
By Maturity
                          Call            $150            1/18/19             38.90%            38.11%             -0.79%                 $10.05                     $9.97                      -0.81%
                          Call            $150            1/25/19             32.21%            36.94%              4.73%                 $10.08                     $10.68                      5.99%
By Option Type
                          Call            $140            1/18/19             40.33%            42.72%              2.39%                 $18.50                     $18.61                      0.60%
                          Put             $140            1/18/19             44.14%            43.19%             -0.95%                  $0.61                     $0.56                      -8.06%
By Strike Price
                          Call            $155            2/15/19             39.10%            37.51%             -1.59%                 $10.03                      $9.69                    -3.34%
                          Call            $190            2/15/19             34.41%            39.78%              5.37%                  $0.53                      $0.98                    85.31%

 Source: Feinstein Merits Report and Backup; EXP_FEINSTEIN0000002.xlsx

 Note:
 [1] These options have positive trading volume on at least one day during the Class Period. Apple’s closing stock price was $157.92 on 1/2/19 and $142.19 on 1/3/19.
 [2] Implied volatility is calculated using the inputs and methodology Dr. Feinstein employs to compute inflation dissipation caused by the alleged corrective disclosures for an example call option with
     a strike price of $200 and maturity date of 1/18/19 in his report.
 [3] Change in implied volatility is calculated by subtracting the option's implied volatility on 1/2/19 from its implied volatility on 1/3/19.
 [4] Option price is the mid price (the average of the bid and ask price) for the given option on 1/2/19 consistent with Dr. Feinstein's approach.
 [5] Option price is calculated using Dr. Feinstein's Binomial pricing model with implied volatility corresponding to 1/3/19 and all other input variables corresponding to 1/2/19.




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